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   EXHIBIT
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Exhibit 16 at 1
                  QUAD
                     D 12
                        2 LOWER
                              R REVIEW
                                     W – 12/22/21
                                                              Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 2 of 372




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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 2
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                             COMPLIANCE STRATEGY                                                                                                                           2
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NCU reviewed operations in Quad Lower 12 on 12/22/22 from 12:00 AM to 11:59 PM. Many of the
ongoing issues that have been referenced by the Nunez Monitor were apparent. The security practices
that were outlined in recent teletypes did not appear to be adhered to consistently:

 Cell doors remained unsecured and incarcerated individuals freely entered cells together without any
  intervention from staff.

 Individuals are observed smoking blatantly and rolling up substances.

 No staff on post consistently

 Staff allow individuals onto the vestibule without supervision from the A station. Individual passed




Exhibit 16 at 3
  items under the door to others in the main corridor. Some of this could likely be contraband exchanges.

 Lock-in was not enforced.



The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                           3
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Exhibit 16 at 4
                       QUAD
                          D LOWER
                                R 4² 2/01/22
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 5
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 6 of 372




                             COMPLIANCE STRATEGY                                                                                                                           2
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NCU reviewed operations in Quad Lower 4 between 6:00 AM on 2/01/22 to 6:00 AM on 2/02/22. Some of
the ongoing issues that have been referenced by the Nunez Monitor were apparent. The security practices
that were outlined in recent teletypes did not appear to be adhered to consistently:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells.

 No staff on post from 06:00 hours until 19:07 hours.ʹDuring this time cell doors remained unsecured.
  there were still significant periods of time where no staff member was on the floor.

 1500-hour lock-in and 2100-hour lock-in not enforced.

 Supervisor toured four (4) times within a 24 hours period.




Exhibit 16 at 6
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                 OVERALL FINDINGS                                                                                                                          3
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Exhibit 16 at 7
                       QUAD
                          D LOWER
                                R 3² 2/01/22
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 8
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 9 of 372




                             COMPLIANCE STRATEGY                                                                                                                           2
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NCU reviewed operations in Quad Lower 3 between 6:00 AM on 2/01/22 to 6:00 AM on 2/02/22. Some of
the ongoing issues that have been referenced by the Nunez Monitor were apparent. The security practices
that were outlined in recent teletypes did not appear to be adhered to consistently:

 Cell doors remained unsecured and incarcerated individuals where able to freely enter and exit their
  cells throughout the day from 0600 hours through 0400 hours the following morning. An assault/fight
  took place inside of a cell that was unsecured.
 Lock-in was not enforced.
 An individual remained on vestibule for nearly 2 hours unaddressed.
 Unsecured sanitation equipment was observed.
 While there was a supervisory presence, some of the issues above were not addressed consistently.

A few positives takeaways were:




 Exhibit 16 at 9
 Staff appeared to conduct consistent tours, but did not always address obvious issues.
 Staff remained on post consistently throughout the 24-hour period.
 Captains did make tours throughout the area (a supervisor was present on five (5) different occasions
  with 24 hour period).

The snapshots in this document are meant to show examples of many of the security breakdowns and
most of the Captain/supervisor appearances in the unit. They are not exhaustive.
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                                  OVERALL FINDINGS                                                                                                                          3
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Exhibit 16 at 10
                        QUAD
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 11
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 12 of 372




                             COMPLIANCE STRATEGY                                                                                                                            2
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NCU reviewed operations in Quad Upper 3 between 6:00 AM on 2/01/22 to 6:00 AM on 2/02/22. Many of
the ongoing issues that have been referenced by the Nunez Monitor were apparent. The security practices
that were outlined in recent teletypes did not appear to be adhered to consistently:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells.
 1500 lock-in and 2100 hours lock-in were not enforced.
 No staff on post consistently, there were still significant periods of time where no staff member was on
  the floor.
 Supervisors toured, but did not seem to address some of the issues, including lock-in.
 Individuals observed on the vestibule outside of the housing area for extended periods of time
  throughout the day and night.




Exhibit 16 at 12
Supervisors were present six (6) times throughout the 24-hour period.

The snapshots in this document are meant to show examples of many of the security breakdowns and
most of the Captain/supervisor appearances in the unit. They are not exhaustive.
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                                  OVERALL FINDINGS                                                                                                                             3
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Exhibit 16 at 13
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                             R A² 2/07/22
                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 14 of 372




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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 14
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 15 of 372




                             COMPLIANCE STRATEGY                                                                                                                            2
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NCU reviewed operations in MOD 1 Lower A from           Confidential
                                                 6:00 &AM on 2/07/22 to 6:00 AM on 2/08/22. While this
location appeared to be better managed than some others reviewed by NCU, there were still some issues
observed:

 Cell doors at times remained unsecured and incarcerated individuals freely entered their cells. There were
  some better efforts relating to door security, but still multiple cells observed unsecured.
 During this audit of the housing area, there were times where an officer(s) appeared to leave the floor and
  enter the A Station. However, it should be noted that there always appeared to be staff on the floor at all
  times (more than 1 CO appeared to be assigned to area).
 Captain tours were conducted, though they appeared to be brief. A supervisor was present on 8 different
  occasions within a 24-hour period.

Overall, the positives to point out are:




    Exhibit 16 at 15
 There was always staff on post
 No individuals congregated in vestibule area
 Lock-in was enforced
 Captains did make tours throughout the area (a supervisor was present on 8 different occasions within 24
  hours)
 Although some issues with doors were noted, generally, there were better efforts securing doors in this
  location than other areas observed.

The snapshots in this document are meant to show examples of some issues observed and most of the
                                                                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 16 of 372




Captain/supervisor appearances in the unit. They are not exhaustive.


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Exhibit 16 at 16
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                                 R B² 2/08/22
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 17
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 18 of 372




                             COMPLIANCE STRATEGY                                                                                                                            2
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NCU reviewed operations in Mod 1 Lower B between         & Confidential
                                                      7:00 AM on 2/08/22 to 7:00 AM on 2/09/22. Some of the
ongoing issues that have been referenced by the Nunez Monitor were apparent. While this location appeared to
be better managed than some others reviewed by NCU, there were still issues observed:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells. There were some
  better efforts relating to door security, but still multiple issues were observed.

 No staff on post at times ʹ while staff remained on post more consistently than other areas, there were still
  periods of time where no staff member was on the floor. Staff were observed entering and exiting the area
  repeatedly, but given the larger number of staff assigned to the area, there was often someone still on the floor.

 Individual appeared to enter the vestibule at one point unauthorized. However, a supervisor appeared to do a
  good job in gaining compliance for him to reenter the housing area.




  Exhibit 16 at 18
The positives were:

 Supervisors were observed in the area on 5 separate occasions over a 24 hour period.
 Cell door security was better than other areas observed, but there is still room for improvement.
 Generally, there was at least one person on post outside of a few occasions.

The snapshots in this document are meant to show examples of many of the security breakdowns and
most of the Captain/supervisor appearances in the unit. They are not exhaustive.
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                                     OVERALL FINDINGS                                                                                                                              3
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Exhibit 16 at 19
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                                  R A² 2/21/22
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 20
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 21 of 372




                             COMPLIANCE STRATEGY                                                                                                                            2
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NCU reviewed operations in Mod 1 Upper A Central between 6:00 AM on 2/21/22 to 6:00 AM on 2/22/22.
Some of the ongoing issues that have been referenced by the Nunez Monitor were apparent. While this
location appeared to be better managed than some others reviewed by NCU, there were still issues
observed. The security practices that were outlined in recent teletypes did not appear to be adhered to
consistently:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells.

 Staff were not on post consistently during the morning tour until 17:24 hours. There were still
  significant periods of time where no staff member was on the floor/or on post. Staff remained on post
  more consistently after 17:28 hours until 06:00 hours, although there were brief periods of times that
  the Officer was observed off post.




Exhibit 16 at 21
A supervisor was observed in the housing area six (6) times within a 24 hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                           3
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Exhibit 16 at 22
                        MOD
                          D 1 UPPER
                                  R B² 2/23/22
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 23 of 372




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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 23
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 24 of 372




                             COMPLIANCE STRATEGY                                                                                                                            2
NCU reviewed operations in Mod 1 Upper B between 6:00 AM on 02/23/22 to 6:00 AM on 2/24/22. Some
                                              Privileged & Confidential
of the ongoing issues that have been referenced   by the Nunez Monitor were apparent. While this location
appeared to be better managed than some others reviewed by NCU, there were still issues observed. The
security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

 Cell doors at times remained unsecured and incarcerated individuals freely entered their cells. There
  were some better efforts relating to door security, but still multiple cells observed unsecured.

 During this audit of the housing area there were times where an officer (s) appeared to leave the floor
  and enter the A station. However, it should be noted that there always appeared to be staff on the floor
  at all times.(more than 1 officer appeared to be assigned to the area).

Overall, the positives to point out are:
 There was always staff on post
 No individuals congregated in the vestibule area




 Exhibit 16 at 24
 Captains did make tours throughout the area (a supervisor was present on six (6) different occasions
  within 24 hours.
 Although some issues with doors were noted, generally, there were better efforts securing doors in this
  location than other areas observed.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                   OVERALL FINDINGS                                                                                                                            3
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Exhibit 16 at 25
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                                 R 4² 3/25/22
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 26
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 27 of 372




                             COMPLIANCE STRATEGY                                                                                                                            2
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NCU reviewed operations in Quad Upper 4 between 6:00 AM on 3/25/22 to 6:00 AM on 3/26/22. Some of
the ongoing issues that have been referenced by the Nunez Monitor were apparent. The security practices
that were outlined in recent teletypes did not appear to be adhered to consistently:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells the entire day
  and night .

 No staff on post consistently ʹthere were significant periods of time where no staff member was on the
  floor.

 1500-hour and 2100-hour lock-in not enforced.

 The supervisor was present five (5) times within a 24-hour period.




Exhibit 16 at 27
Positive Takeaway
 The supervisor that toured at 00:12 hours ensured the housing area was secured. She observed
  individuals out of their cells, and ensured that they were secured in their cells prior to departing the
  area.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 28
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 29
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 30 of 372




                             COMPLIANCE STRATEGY                                                                                                                            2
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NCU reviewed operations in Quad Lower 8 between 5:55 AM on 4/01/22 to 6:00 AM on 4/02/22. Some of
the ongoing issues that have been referenced by the Nunez Monitor were apparent:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  day until lock -in.

The supervisor toured six (6) times within a 24 hour period.

Some positive takeaways:

 Staff generally remained on post ʹstaff remained on post more consistently than other areas reviewed.
  There was a 27 minute period where no officer was on the floor.




Exhibit 16 at 30
 Lock-in was enforced.



The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 31
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                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 32 of 372




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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 32
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 33 of 372




                             COMPLIANCE STRATEGY                                                                                                                            2
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NCU reviewed operations in Quad Upper 8 between 6:00 AM on 4/01/22 to 6:00 AM on 4/02/22. Some of
the ongoing issues that have been referenced by the Nunez Monitor were apparent:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells, but still
  multiple issues were observed.
 No staff on post consistently ʹthere were still significant periods of time where no staff member was on
  the floor.
 1500-hour and 2100 hour lock-in not enforced.
 Throughout the day the officer is observed allowing individuals onto the vestibule and they engaged
  with individuals on the other side of the door from another area.
 Individuals observed smoking.
 Supervisors toured three (3) times within a 24-hours period.




Exhibit 16 at 33
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 34
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                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 35 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 35
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 36 of 372




                              COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in Quad Lower 5 between 6:00 AM on 5/12/22 to 6:00 AM on 5/13/22. Some
security issues were apparent from this review:

 Cell doors remained unsecured and incarcerated individuals freely entered their cells.

 Windows were covered and obstructed.

 2100-hour lock in not enforced. The individuals locked-in at 22:00 hours. Individuals were observed out
  later in the evening.

 There were four (4) officers on post. Although, they conducted frequent tours of the housing area
  during the day tour, obvious issues such as door security and obstructed windows went unaddressed,




Exhibit 16 at 36
  even with supervisors present.

Supervisors were observed in the area seven (7) times throughout the 24-hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 37
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 38
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 39 of 372




                              COMPLIANCE STRATEGY                                                                                                                              2
                                            Privileged & Confidential
 NCU reviewed operations in Quad Lower 6 between      6:00 AM on 05/12/22 to 6:00 AM on 5/13/22. This
 location appeared to generally be better managed than other areas audited. This was a Mental
 Observation area with increased staffing compared to General Population locations. One issue that was
 observed:

  Staff were observed off post for some periods of time, though less frequently than observed in other
   areas.


 Takeaways
  Officers made frequent tours of the housing area.

  Doors were generally secured.




Exhibit 16 at 39
  Officers remained on post consistently, although there was a couple of occasions the were off post.

  Supervisors present six (6) times within a 24-hour period

 The snapshots in this document are meant to show examples of many of the security
 breakdowns and most of the Captain/supervisor appearances in the unit. They are not
 exhaustive.
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                                   OVERALL FINDINGS                                                                                                                         3
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Exhibit 16 at 40
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                           D UPPER
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 41
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 42 of 372




                              COMPLIANCE STRATEGY                                                                                                                              2
NCU reviewed operations in Quad Upper 6 between     & Confidential
                                         Privileged6:00 AM on 5/13/22 to 6:00 AM on 5/14/22. There
were numerous issues throughout the 24-hour period:


 Cell doors remained unsecured and incarcerated individuals freely entered their cells.

 Multiple individuals were observed congregating in one cell, including transgender individuals

 A fight occurred while staff were off post after lock-in.

 Cell windows were obstructed throughout the day, despite different supervisors and a probe team
  coming to the area.

 Staff were off post for periods of time without proper relief.




Exhibit 16 at 42
 1500-hour lock-in and 2100-hour lock-in were not enforced.


Supervisors were observed seven (7) times over the 24-hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
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exhaustive.


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Exhibit 16 at 43
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                                 R ² 6/08/22
                                                              Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 44 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 44
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 45 of 372




                              COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in Quad Upper 7 between 6:00 AM on 6/08/22 to 6:00 AM on 6/09/22. Some
issues observed were.

 No staff on post consistently ʹ there were times when no staff were on the floor.
 An individual was observed on the vestibule for over 4 hours.

Some positive takeaways were:

 Doors appeared to generally be secured and windows were not obstructed.

 Staff were observed utilizing the tour pipe consistently over the 24-hour period and conducting
  meaningful tours.




Exhibit 16 at 45
 Lock-ins were enforced at both 1500 and 2100 hours

 Supervisors were present ten (10) times during the 24-hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                    3
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Exhibit 16 at 46
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                                 R 7² 6/09/22
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 47 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 47
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 48 of 372




                              COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in Quad Lower 7 between 6:00 AM on 6/09/22 to 6:00 AM on 6/10/22. Some
issues observed were:

                  Unsecured food slots
                  Obstructed cell windows
                  Individual who remained on vestibule for nearly 3 hours
                  Staff off post during the midnight tour


The housing area did appear to lock-in for the evening. Supervisors were observed in the
location ten (10) times over the 24-hour period.




Exhibit 16 at 48
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                             OVERALL FINDINGS                                                                                                      3
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Exhibit 16 at 49
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 50
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 51 of 372




                              COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in Quad Lower 20 between 6:00 AM on 7/14/22 to 6:00 AM on 07/15/22.
Issues were observed throughout the review period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells.

 1500 hour lock-in and the 2100 hour lock-in not enforced. No officer on post.

 There was no officer on post throughout the audit. Unclear if this was an unstaffed post. Periodically
  officers went into the housing area. No staff on post consistently.

 Supervisor were observed only two (2) times within a 24 hour period. Issues went unaddressed.




Exhibit 16 at 51
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 52
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 53
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 54 of 372




                              COMPLIANCE STRATEGY                                                                                                                              2
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                   NCU reviewed operations in Quad Upper 20 between 6:00 AM on 7/18/22 to 6:00 AM on 07/19/22. There
                   were numerous issues observed throughout the entire period:

                    Staff did not remain on post consistently ʹ there were still significant periods of time where no staff
                     member was on the floor. They remained in the A station.

                    The officer would depart the A station to conduct the watch tour and then go back off post.

                    The officers never secured cell doors.

                    Vestibule gate was unsecured at times allowing individuals to congregate in the vestibule

                    A Station door was observed unsecured at times.




Exhibit 16 at 54
                    The 2100 hour lock-in was not enforced.

                      Supervisors present four (4) times within the 24-hour period and did not address issues. Supervisors
                       appeared to catch staff in the A Station.

                   The snapshots in this document are meant to show examples of many of the security
                   breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                   exhaustive.
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Exhibit 16 at 55
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                           d Lowerr 19² 7/27/22
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 56
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                              COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in Quad Lower 19 between 6:00 AM on 7/27/22 to 6:00 AM on 07/28/22. There
were several issues observed throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells.

 No staff on post consistently there were still significant periods of time where no staff member was on
  the floor. The 600x1800 floor officer was observed on the housing area floor only during the watch
  tours.

 1500- and 2100-hour lock-in not enforced.

 Supervisor present only two (2) times within a 24-hour period.




Exhibit 16 at 57
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 58
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 59
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 60 of 372




                              COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in Quad Upper 19 between 6:00 AM on 8/01/22 to 6:00 AM on 08/02/22.
Tour wands were used consistently, but there were issued observed throughout the audit period.

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 No staff on post consistently. There were significant periods of time where no staff member was on the
  floor.

 1500- and 2100-hour lock-in not enforced. Individuals were observed out later in the evening.

 Individuals in the housing area were allowed to go to the vestibule to communicate with other




Exhibit 16 at 60
  individuals through the door.

 Supervisor present only four (4) times within a 24-hour period.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 61
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 62
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                              COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in Quad Lower 18 between 6:00 AM on 8/04/22 to 6:00 AM on 08/05/22. There
were numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells.

 No staff on post consistently there were still significant periods of time where no staff member was on
  the floor.

 1500- and 2100-hour lock-in not enforced.

 There was no officer on post on August 4, 2022 06:00 hours until 13:27 hours, and then from 17:57
  hours until August 5, 2022 06:00 hours (the end of the audit).




Exhibit 16 at 63
 Individuals were allowed on the vestibule area. They were observed interacting with individuals through
  the door.

 Supervisor present only three (3) times within a 24-hour period.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 64
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 65
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                             COMPLIANCE STRATEGY                                                                                                                             2
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NCU reviewed operations in Quad Upper 18 between 6:00 AM on 8/08/22 to 6:00 AM on 08/09/22. There
were numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 1500-hour lock-in and the 2100 hour lock-in not enforced. Individuals in the housing area did not lock in
  at designated times.

 No staff on post consistently. No officer on the floor since 18:32 hours on August 8, 2022 until the
  completion of audit 08/09/2022 06:00 hours.




Exhibit 16 at 66
 Sanitation equipment observed unsecured in the housing area.

 Individuals were able to congregate on the vestibule area.

 Supervisor present only three (3) times within a 24-hour period.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 67
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 68
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                              COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in Quad Lower 17 between 6:00 AM on 9/08/22 to 6:00 AM on 9/09/22
 The security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 1500-hour lock-in and 2100-lock in not enforced.

 Supervisor present only three (3) times during the audit.

Positive take away:
 The officer consistently conducted tours utilizing the watch tour wand.




Exhibit 16 at 69
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 70
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 71
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                              COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in Quad Upper 17 between 6:00 AM on 9/12/22 to 6:00 AM on 9/13/22
 The security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

 Cell doors remained unsecured and incarcerated individuals freely entered cells throughout the audit.

 No officer on post for the entire audit.

 1500-hour and 2100-lock ins not enforced.

 Supervisor present only three (3) times during the audit.




Exhibit 16 at 72
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 73
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 74
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                             COMPLIANCE STRATEGY                                                                                                                             2
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NCU reviewed operations in Quad Lower 16 between 6:00 AM on 10/03/22 to 6:00 AM on 10/04/22.
There were numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

                  2100-hour lock-in not enforced.

 No staff on post consistently on the 1800-hour tour. The officer only went on the floor to conduct
  watch tours.

 Supervisor present only five (5) times within a 24-hour period.




Exhibit 16 at 75
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 76
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 77
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                             COMPLIANCE STRATEGY                                                                                                                             2
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NCU reviewed operations in Quad Upper 16 between 6:00 AM on 10/05/22 to 6:00 AM on 10/06/22.
There were numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 1500 and 2100-hour lock-ins not enforced.

 No staff on post from 06:56 hours until the end of the audit.

 Supervisor present only three (3) times within a 24-hour period.




Exhibit 16 at 78
 Individuals in the housing area obstructed the cameras several times throughout the audit.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                            3
                               Privileged & Confidential




                   SUPERVISOR
                            R TOURSS AND
                                       D SECURITY
                                                Y
                           ISSUES
                                S - AMKC




Exhibit 16 at 79
                       QUAD
                          D LOWER
                                R 15² 11/10/22
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 80 of 372




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                                             Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 80
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 81 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
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NCU reviewed operations in Quad Lower 15 between 6:00 AM on 11/10/22 to 6:00 AM on 11/11/22.
There were numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.
 2100-hour lock-in not enforced.
 The lights in the housing area were not turned on.
 The supervisor was present only four (4) times within a 24-hour period.

Positive Takeaways:
 Staff remained on post
 Watch tours were conducted consistently




Exhibit 16 at 81
 Supervisors addressed door security and obstruction issues while they toured.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 82 of 372




                                 OVERALL FINDINGS                                                                                                                             3
                               Privileged & Confidential




                   SUPERVISOR
                            R TOURSS AND
                                       D SECURITY
                                                Y
                           ISSUES
                                S - AMKC




Exhibit 16 at 82
                       QUAD
                          D UPPER
                                R 15² 11/14/22
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 83 of 372




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                                             Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 83
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 84 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                            Privileged & Confidential
NCU reviewed operations in Quad Upper 15 between 6:00 AM on 11/14/22 to 6:00 AM on 11/15/22.
There were numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 During the morning tour, the officer did not stay on post consistently. She entered the housing area to
  conduct the watch tour. She then went inside of the A station.

 2100-hour lock-in not enforced.

 The lights in the housing area were not turned on.




Exhibit 16 at 84
 There was no officer on the floor from 13:03 to the end of the audit.

 Individuals were allowed to go to the vestibule area.

 The supervisor was present only four (4) times within a 24-hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                            3
                               Privileged & Confidential




                   SUPERVISOR
                            R TOURSS AND
                                       D SECURITY
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                           ISSUES
                                S - AMKC




Exhibit 16 at 85
                       QUAD
                          D LOWER
                                R 14² 02/08/23
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 86 of 372




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                                             Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 86
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 87 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                           Privileged & Confidential


NCU reviewed operations in Quad Lower 14 between 6:00 AM on 02/08/23 to 6:00 AM on 02/09/23.
There were numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 1500-hour lock-in 2100-hour lock-in not enforced.

 The lights in the housing area were not turned on.

 PICs were observed manipulating the front entrance gate.




Exhibit 16 at 87
 PICs observed congregating on the vestibule area.

 The supervisor was present only Five (5) times within a 24-hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 88 of 372




                                 OVERALL FINDINGS                                                                                                                             3
                               Privileged & Confidential




                   SUPERVISOR
                            R TOURSS AND
                                       D SECURITY
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                           ISSUES
                                S - AMKC




Exhibit 16 at 88
                      QUAD
                         D LOWER
                               R 13² 03/30/2023
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 89 of 372




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                                             Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 89
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 90 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                           Privileged & Confidential


NCU reviewed operations in Quad Lower 13 between 6:00 AM on 03/30/23 to 6:44 AM on 03/31/2023.
There were numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 1500 and 2100-hour lock-ins were not enforced.

 The watch tours were not conducted consistently.

 PICs observed congregating on the vestibule area.




Exhibit 16 at 90
 The officer did not remain on post consistently throughout the evening tour.

 The supervisors were present eight (8) times within a 24-hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 91 of 372




                                 OVERALL FINDINGS                                                                                                                             3
                               Privileged & Confidential




                   SUPERVISOR
                            R TOURSS AND
                                       D SECURITY
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                           ISSUES
                                S - AMKC




Exhibit 16 at 91
                       QUAD
                          D UPPER
                                R 13² 04/06/23
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 92 of 372




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                                             Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 92
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 93 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                           Privileged & Confidential


NCU reviewed operations in Quad Upper 13 between 5:58 AM on 04/06/23 to 6:44 AM on 04/07/23.
There were numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 1500 and 2100-hour lock-ins not enforced.

 The watch tours were not conducted.

 Staff did not remain on post consistently throughout the audit.




Exhibit 16 at 93
Positive Takeaways
 The supervisors were present nine (9) times within a 24-hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 94 of 372




                                 OVERALL FINDINGS                                                                                                                             3
                               Privileged & Confidential




                   SUPERVISOR
                            R TOURSS AND
                                       D SECURITY
                                                Y
                           ISSUES
                                S - AMKC




Exhibit 16 at 94
                       Quad
                          d Upperr 13
                                    3 06/04/2023
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 95 of 372




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                                             Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 95
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 96 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                            Privileged & Confidential
NCU reviewed operations in AMKC QU13 between 6:00 AM on 06/04/23 to 6:00 AM on 06/05/23. The
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 Cell doors were observed unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 Staff were observed off post.

 While the watch tour pipe was utilized throughout the 24 hours, it was not consistent (not done every
  30 min). 70% of the time the officers were looking inside of the cells while conducting the watch pipe
  tours.

 Supervisors toured and utilized the watch tour pipe a total of nine (9) times during the 24-hour period.




Exhibit 16 at 96
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 97 of 372




                                  OVERALL FINDINGS                                                                                                                             3
                                Privileged & Confidential




                   SUPERVISOR
                            R TOURSS AND
                                       D SECURITY
                                                Y
                           ISSUES
                                S ² EMTC




Exhibit 16 at 97
                           EMTC C ² 4 MAIN
                   AUGUST
                        T 8,, 2022
                                 2 ²,, AUGUST
                                            T 9,, 2022
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 98 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 98
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 99 of 372




                              COMPLIANCE STRATEGY                                                                                                                              2
                                                            4 MAIN housing
                   NCU reviewed operations in EMTC BuildingPrivileged         area between 06:00 AM on August 8, 2022, to
                                                                      & Confidential
                   06:30 AM on August 9, 2022. dŚŝƐĂƌĞĂĂƉƉĞĂƌĞĚŶŽƚƚŽŚĂǀĞĂ͚͛ŽĨĨŝĐĞƌĨŽƌŵŽƐƚŽĨƚŚĞĚĂǇƵŶƚŝů
                   approximately 18:20 hours. Several issues were observed throughout the audit:

                    KŶĐĞĂ͚͛ŽĨĨŝĐĞƌǁĂƐĂƐƐŝŐŶĞĚƚŽůŽĐĂƚŝŽŶ͕ŚĞǁĂƐŽŶͬŽĨĨƉŽƐƚ͘,ŽǁĞǀĞƌ͕ƐƚĂĨĨĂƉƉĞĂƌĞĚƚŽďĞĐƌŽƐƐ
                     relieving for meal.
                    Genetec cameras were obstructed.
                    21:00 hour lock-in did not appear to be enforced.

                   Positive Takeaways:
                    Services were afforded.
                    According to protocol, temperature inspection was conducted, maintenance staff appeared to be
                     addressing the issue and ice was provided.
                    Warden Harvey was present in the area.




Exhibit 16 at 99
                    Supervisors were observed nine (9) times throughout the 24-hour period.

                   The snapshots in this document are meant to show examples of issues observed and most of the
                   Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                              Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 100 of 372




                                                   OVERALL FINDINGS                                                                                                                              3
                                  Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S ² EMTC




Exhibit 16 at 100
                            EMTC  C ²1
                                     1 UPPER
                    AUGUST
                         T 24,, 2022
                                   2 ² AUGUSTT 25,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 101 of 372




                                                              1
                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 101
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 102 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                    NCU reviewed operations in 1 UPPER housing area between 06:00 AM on8/24/22, to 06:30 AM on 8/25/22.
                                                             Privileged & Confidential
                    There were several issues observed throughout   the 24-hour period:

                       EŽƐƚĂĨĨŝŶŝƚŝĂůůǇĂƐƐŝŐŶĞĚƚŽ͚͛ƉŽƐƚƵŶƚŝůϭϲ͗ϰϱŚŽƵƌƐŽŶϴͬϮϰͬϮϮ͘
                       Institutional feeding conducted, not according to protocol.
                       Staff did not consistently conduct a physical count or thorough security inspections.
                       Staff lacked security awareness-failed to ensure the main housing area doors were secured.
                       Unsecured DOC sanitation equipment.
                       Incarcerated individuals not secured according to 2100-hour lock-in protocol.
                       Staff not giving instructions to be secured in the sleeping quarters even during count procedures.
                       During the institutional search, incarcerated individuals did not remain on their assigned beds.
                       ƚŽƚĂůŽĨƚŚƌĞĞ;ϯͿƐƚĂĨĨŽďƐĞƌǀĞĚŝŶϭhƉƉĞƌǇĞƚ͕ƚŚĞƌĞǁĞƌĞĐŽŶƐŝƐƚĞŶƚůǇŽŶƚŚĞ͞͟ƉŽƐƚ͘
                       Supervisors present six (6) times throughout the 24-hour period.

                    The snapshots in this document are meant to show examples of issues observed and most of the




Exhibit 16 at 102
                    Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 103 of 372




                                                     OVERALL FINDINGS                                                                                                                           3
                                 Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S ² EMTC
                             EMTC
                                C ² 1 UPPER




Exhibit 16 at 103
                      SEPT
                         T 10,, 2022
                                   2 ² SEPT
                                          T 11,, 2022
                                                    2
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 104 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 104
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 105 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                    NCU reviewed operations in EMTC BuildingPrivileged
                                                             1 UPPER&housing  area between 06:00 AM on September 10,
                                                                       Confidential
                    2022, to 06:30 AM on September 11, 2022. dŚŝƐĂƌĞĂĂƉƉĞĂƌĞĚŶŽƚƚŽŚĂǀĞĂ͚͛ŽĨĨŝĐĞƌ͘Numerous issues
                    were observed throughout the audit:

                       21:00 hour lock-in did not appear to be enforced.
                       Incarcerated individuals stayed in the dayroom.
                       Incarcerated individual observed in Non-DOC attire.
                       Unsecured cleaning equipment
                       Supervisors were observed only two (2) times throughout the 24-hour period.

                    The snapshots in this document are meant to show examples of issues observed and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.




Exhibit 16 at 105
                                                                                                                              Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 106 of 372




                                                    OVERALL FINDINGS                                                                                                                             3
                                 Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - EMTC
                           BUILDING
                                  G 6 UPPER
                                          R²




Exhibit 16 at 106
                    OCTOBER
                          R 27,, 2022 and
                                        d OCTOBER
                                                R 28,,
                                   2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 107 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 107
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 108 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
               NCU reviewed operations in 6 Upper between    06:00 hours on October 27, 2022, to 06:30 hours on October
                                                         Privileged & Confidential
               28, 2022. There were several issues observed throughout the 24-hour period.

                EŽƐƚĂĨĨŽŶ͚͛ƉŽƐƚ͘

                ^ƚĂĨĨĂƐƐŝŐŶĞĚƚŽ͚͛ƉŽƐƚŽďƐĞƌǀĞĚŽĨĨƉŽƐƚ͘

                Feeding protocol not adhered to.

                2100-hour lock-in not enforced.

                Supervisor present five (5) times within a 24-hour period.




Exhibit 16 at 108
               The snapshots in this document are meant to show examples of many of the security
               breakdowns and most of the Captain/supervisor appearances in the unit. They are not
               exhaustive.
                                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 109 of 372




                                                OVERALL FINDINGS                                                                                                                             3
                                Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - EMTC
                           BUILDING
                                  G ² 6 MAIN




Exhibit 16 at 109
NOVEMBER
       R 18,, 2022 and
                     d NOVEMBER
                              R 19,,
                2022
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 110 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 110
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 111 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
               NCU reviewed operations in 6 Main between  06:00 hours on November 18, 2022, to 06:30 hours on
                                                       Privileged & Confidential
               November 19, 2022. There were a few issues observed throughout the 24-hour period.

                EŽƐƚĂĨĨŽŶ͚͛ƉŽƐƚ͘
                Supervisor observed only one (1) time during the 24 hour period.


               Positives takeaways:
                Staff was observed conducting a physical count and security inspection.
                Services were afforded.
                Staff remained professional throughout the movement of the incarcerated individuals.
                Staff was thorough in ensuring the new incarcerated individuals were afforded the necessary supplies
                  needed for the transfer into 6 Main housing area.
                Staff ensured sanitation was conducted.




Exhibit 16 at 111
               The snapshots in this document are meant to show examples of many of the security
               breakdowns and most of the Captain/supervisor appearances in the unit. They are not
               exhaustive.
                                                                                                                        Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 112 of 372




                                               OVERALL FINDINGS                                                                                                                            3
                                 Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - EMTC
                                  1 MAIN




Exhibit 16 at 112
                    JANUARY
                          Y 02,, 2023 and
                                        d JANUARY
                                                Y 03,,
                                   2023
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 113 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 113
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 114 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                                              Privileged & Confidential




                    NCU reviewed operations in 1 Main between 06:00 hours on January 02, 2023, to 06:30 hours on January 03,
                    2023. There were no major issues observed. The following are Eh͛Ɛ findings throughout the 24-hour
                    period.

                     Officers remained on post for the duration of the tour(s).

                     Supervisor present nine (9) times within a 24-hour period.




Exhibit 16 at 114
                     Tour commanders toured three (3) times within a 24-hour period.

                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
                                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 115 of 372




                                                     OVERALL FINDINGS                                                                                                                         3
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Exhibit 16 at 115
                    4 UPPER
                          R - APRIL
                                  L 26,, 2023
                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 116 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 116
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 117 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
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NCU reviewed operations in 4 Upper between 06:00 hours on April 26, 2023, until 0600 hours on April 27,
2023. The following are Eh͛Ɛ findings throughout the 24-hour period.

 At the beginning of the audit the area was unmanned and remained so until the 1500X2300 hours tour.

 Although the post was unmanned, there were numerous services being afforded.

 After the institutional lock-in at 2300 hours, the officer was observed constantly leaving the floor; she often
  did not return until a supervisor came to the area.

 Supervisors were in the area a total of ten (10) times which includes nine (9) tours and one for escorting
  purpose only.




Exhibit 16 at 117
The snapshots in this document are meant to show examples of many of the security breakdowns
and most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                    Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 118 of 372




                                   OVERALL FINDINGS                                                                                                                                    3
                            Privileged & Confidential




SUPERVISOR
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                    D SECURITY
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Exhibit 16 at 118
                    9 LOWER
                          R ² JUNE
                                 E 25,, 2023
                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 119 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 119
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 120 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                                        Privileged & Confidential



             NCU reviewed operations in EMTC 9 Lower between 06:00 hours on June 25, 2023, until 0600 hours on June
             26, 2023. The following are Eh͛Ɛ findings throughout the 24-hour period.

              The post was unmanned during the 0700X1500 and 2300X0731 tours.

              The floor officer was observed off post for approx. 50 min (from 20:58 to 21:50hrs).

              While on post, the 1500x2300 officer did not conduct enough tours of the area. He was observed mostly
               sitting at his desk.

              Supervisors were in the area only six (6) times during the 24-hour period.




Exhibit 16 at 120
             The snapshots in this document are meant to show examples of many of the security
             breakdowns and most of the Captain/supervisor appearances in the unit. They are not
             exhaustive.
                                                                                                                       Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 121 of 372




                                              OVERALL FINDINGS                                                                                                                            3
                        Privileged & Confidential
                                          NEW YORK CITY DEPARTMENT OF CORRECTION
                                                         Vincent Schiraldi, Commissioner

                                                                               Marshall Volk
                                                                      Assistant Commissioner
                                                                      Nunez Compliance Unit
                                                                        90 Construction Way
                                                             East Elmhurst, New York 11370
                                                                                 718-546-5651




    Exhibit 16 at 121
                                                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 122 of 372
                                                             Privileged & Confidential
                                                             HOUSING      AREA 7B
Date:                           December 28, 2021

To:                             Jean Rene, Warden of the George R. Vierno Center

From:                           Marshall Volk, Assistant Commissioner of the Nunez Compliance Unit

Subject:                        Building 7 Review on December 20, 2021

                                                                          Background

Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits of housing areas to review
if supervisors are conducting tours as required in Teletype Order # HQ -02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures that could potentially
lead to additional violence. This includes, but is not limited to door security, congregation in vestibules, and staff failing to
remain on post.




                                                                Management of Housing Areas

For both 7A and 7B, many of the ongoing issues that have been referenced by the Nunez Monitor were apparent. The security
practices that were outlined in recent teletypes did not appear to be adhered to consistently:

                        Cell doors remained unsecured throughout most of the day, windows were blocked and/or obstructed, and incarcerated
                         individuals freely entered cells together without any intervention from staff.
                        Staff failed to remain on post consistently.




 Exhibit 16 at 122
                        The doors leading to the vestibule were unsecured and incarcerated individuals routinely congregated in the vestibules
                         without any intervention from staff.
                        Lock-in was only enforced due to a large response team to the area.
                                                                                                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 123 of 372




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Exhibit 16 at 123
                              BUILDINGG7²
                     January
                           y 20
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                                  d January
                                          y 21,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 124 of 372




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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 124
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 125 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in Building 7 between    23:00 hours
                                              Privileged      on January 20, 2022 to 23:00 hours on
                                                         & Confidential
January 21, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
consistently:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells together.

 Incarcerated individuals were not secured in their respective cells during the change of tours.

 Individuals congregated in vestibules frequently.

 Supervisors were observed in 7A and 7B only twice throughout the 24-hour period.




  Exhibit 16 at 125
A few positives takeaways were:

 For the staff on post in 7A - consistent tours conducted.

 When supervisors did conduct tours, they appeared to address door security in respective housing
  areas.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 126 of 372




                                    OVERALL FINDINGS                                                                                                                         3
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Exhibit 16 at 126
                             GRVC-BUILDING G 5A
                                              A
                    March
                        h 3,, 2022 through
                                         h March
                                               h 4,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 127 of 372




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Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 127
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 128 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                            Privileged & Confidential
NCU reviewed operations in GRVC Building 5- housing area 5A 06:00 AM on March 3, 2022, to 06:30 AM on
March 4, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
consistently:

 Incarcerated individuals were observed walking around in the early mornings, when they should be
  locked in their respective cells.

 Staff member on the floor while incarcerated individuals are observed not secured in their respective
  cells.

 Incarcerated individuals manipulated the locking mechanism of cell doors.




Exhibit 16 at 128
 Staff were not on post consistently.

Some positives takeaways were:
 Supervisors did address issues in housing area when present.

Supervisors were present on seven (7) separate occasions in the 24-hour period.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 129 of 372




                                  OVERALL FINDINGS                                                                                                                           3
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Exhibit 16 at 129
                          GRVC-BUILDING   G 5B
                      March
                          h 3,, 2022
                                   2 ² March
                                           h 4,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 130 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 130
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 131 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
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NCU reviewed operations in GRVC Building 5- housing area - 5B between 06:00 AM on March 3, 2022, to
06:30 AM on March 4, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor
were apparent. The security practices that were outlined in recent teletypes did not appear to be adhered
to consistently:
 Incarcerated individuals were observed walking around in the early mornings, when they should be
   locked in their respective cells.
 Staff member on the floor while incarcerated individuals are observed not secured in their respective
   cells.
 Door security issues were observed
 Supervisors were only present twice over a 24-hour period
 Staff were not on post consistently




Exhibit 16 at 131
Some positives takeaways were:
 Supervisors did address issues in housing area when present in area .

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                 OVERALL FINDINGS                                                                                                                              3
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Exhibit 16 at 132
                               BUILDING
                                      G 10
                    MARCH
                        H 3RD THROUGH H MARCH
                                            H 4,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 133 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 133
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 134 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                                              Privileged & Confidential
                    NCU reviewed operations in GRVC Building 10 A - 06:00 AM on March 3, 2022, to 06:30 AM on March 4,
                    2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were apparent. The
                    security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

                       Supervisor on post did not conduct a tour.
                       ŽŽƌ^ĞĐƵƌŝƚǇ/ƐƐƵĞƐͬ&ŽŽĚ^ůŽƚ/ƐƐƵĞƐͬ͟&ŝƐŚŝŶŐ͟
                       Individuals did not appear to be in departmental incarcerated uniform.
                       Staff allowed multiple individuals to be secured in a single cell.
                       Supervisor conducting a tour and observed a security issue. However, did not address.
                       Staff not on post consistently

                    Supervisors were observed in area on five (5) separate occasions over a 24-hour period.




Exhibit 16 at 134
                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
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                                                     OVERALL FINDINGS                                                                                                                            3
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Exhibit 16 at 135
                              BUILDING
                                     G 10
                                        0B
                    MARCH
                        H 3RD THROUGHH MARCH
                                           H 4,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 136 of 372




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Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 136
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 137 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                            Privileged & Confidential
NCU reviewed operations in GRVC Building 10 B - 06:00 AM on March 3, 2022, to 06:30 AM on March 4,
2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were apparent. The
security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

 Door security issues throughout the day.
 Institutional feeding conducted outside of the pantry.
 Individuals in the housing area pantry preparing meals not in accordance with the protocol.
 Individuals in the pantry throughout the tour, door security and pantry meals with the supervisor and
  staff fully aware of all activities.
 Despite tension between Building 10 A and Building 10B, and securing the pantry, staff still allowed for
  the individuals from 10B to enter the pantry.
 Tampering with the electrical structure in housing area to kindle a flame for contraband use.




Exhibit 16 at 137
Supervisors were present eight (8) times throughout the 24-hour period. However, they were inconsistent
with addressing issues in the housing area.




The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 138 of 372




                                  OVERALL FINDINGS                                                                                                                              3
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                    SUPERVISOR
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Exhibit 16 at 138
                          GRVC C ² BUILDINGG 5A
                      March
                          h 8,, 2022
                                   2 ² March
                                           h 9,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 139 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 139
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 140 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                    NCU reviewed operations in GRVC BuildingPrivileged  & Confidential
                                                               5A housing   area between 06:00 AM on March 8, 2022, to 06:30
                    AM on March 9, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
                    apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
                    consistently:

                     Door security was inconsistent - Cell doors were open throughout the day and after lock-in.

                     Staff were not consistent with conducting institutional counts.

                     Pantry protocol was not adhered to

                     Institutional lock-in protocols were not adhered to despite presence of supervisors and other staff.

                     No supervisor was observed entering housing area until after lock-in.




Exhibit 16 at 140
                     Incarcerated individuals remained on the vestibule area for more than 30 minutes.

                    Supervisors were present five (5) times throughout the 24-hour period.

                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
                                                                                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 141 of 372




                                                    OVERALL FINDINGS                                                                                                                              3
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Exhibit 16 at 141
                          GRVC C ² BUILDINGG 5B
                      March
                          h 8,, 2022
                                   2 ² March
                                           h 9,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 142 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 142
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 143 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                    NCU reviewed operations in GRVC BuildingPrivileged  & Confidential
                                                               5B housing   area between 06:00 AM on March 8, 2022, to 06:30
                    AM on March 9, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
                    apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
                    consistently:

                     No staff on post consistently after midnight

                     Door security issues were prevalent

                     Staff not consistent with conducting institutional counts.

                     Pantry issues were evident

                     Institutional lock-in protocols not adhere to.




Exhibit 16 at 143
                     Pat frisks appeared to be superficial

                    Supervisors were present five (5) times throughout the 24-hour period.

                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
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                                                     OVERALL FINDINGS                                                                                                                             3
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Exhibit 16 at 144
                         GRVC    C ² BUILDING  G 7A
                       Aprill 4,, 2022
                                     2 ² Aprill 5,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 145 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 145
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 146 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                    NCU reviewed operations in GRVC BuildingPrivileged  & Confidential
                                                               7A housing   area between 06:00 AM on April 4, 2022, to 06:30
                    AM on April 4, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
                    apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
                    consistently:

                     Staff on the floor did conduct consistent tours/counts when assuming post.

                     Door security issues were evident throughout the day

                     Pantry issues were apparent

                     Institutional lock-in protocols were not adhered to.

                     Staff were not properly relieved.




Exhibit 16 at 146
                     There were significant periods of time where no staff were on the floor.

                     Incarcerated persons observed with contraband, including smoking of unknown substance.

                    Supervisors were present four (4) times throughout the period reviewed.

                    The snapshots in this document are meant to show examples of issues observed and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 147 of 372




                                                    OVERALL FINDINGS                                                                                                                              3
                                  Privileged & Confidential




                    SUPERVISOR
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                                        D SECURITY
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Exhibit 16 at 147
                         GRVC    C ² BUILDING  G 7B
                       Aprill 4,, 2022
                                     2 ² Aprill 5,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 148 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 148
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 149 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
NCU reviewed operations in GRVC Building 7B  Privileged  Confidential
                                                housing&area  between 06:00 AM on April 4, 2022, to 06:30 AM
on April 5, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were apparent.
The security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

 Staff off post for significant periods of time.

 Door security issues were apparent throughout the day.

 Non-DOC institutional uniforms were observed

 Staff were inconsistent with conducting institutional counts and touring.

 Pantry issues were apparent.




Exhibit 16 at 149
 Institutional lock-in protocols not adhered to.

 Little supervisory presence throughout the day.

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Supervisors were present two (2) times throughout the 24-hour period.

The snapshots in this document are meant to show examples of issues observed and most of the
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 150 of 372




Captain/supervisor appearances in the unit. They are not exhaustive.


                                    OVERALL FINDINGS                                                                                                                          3
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                    SUPERVISOR
                             R TOURSS AND
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Exhibit 16 at 150
                          GRVC² Building    g 10A
                       Aprill 5,, 2022
                                     2 ² Aprill 6,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 151 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 151
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 152 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                                            Privileged & Confidential


                    NCU reviewed operations in GRVC Building 10 A housing area between 06:00 AM on April 5, 2022, to 06:30 AM on April 6, 2022. Some
                    of the ongoing issues that have been referenced by the Nunez Monitor were apparent. Some issues observed were:

                       Door security issues observed throughout the day

                       Multiple incarcerated individuals entered single cell

                       Pantry protocols not adhered to.

                       Institutional feeding not conducted according to protocol.

                       Pantry doors were unsecured by assigned staff who alternated between 10 A and 10 B housing areas throughout the 24-hour
                        period.

                       Staff did not wait to be properly relieved.




Exhibit 16 at 152
                    Supervisors were present four (4) times throughout the 24-hour period.




                    The snapshots in this document are meant to show examples of many of the security breakdowns and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.
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                                                               OVERALL FINDINGS                                                                                                                                           3
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                    SUPERVISOR
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Exhibit 16 at 153
                          GRVC² Building    g 10B
                       Aprill 5,, 2022
                                     2 ² Aprill 6,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 154 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 154
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 155 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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           NCU reviewed operations in GRVC Building 10 A housing area between 06:00 AM on April 5, 2022, to 06:30 AM on April 6, 2022. Some
           of the ongoing issues that have been referenced by the Nunez Monitor were apparent. Some issues observed were:

                   Door security and cell windows obstructed throughout the day despite different officers and supervisors in area.

                   Incarcerated individuals enter observed entering unsecured cell together.

                   Pantry protocols not adhered to.

                   Institutional feeding not conducted according to protocol.

                   Staff affording lock-out, however, is observed unlocking a cell door and allowing another incarcerated individual who is not
                    assigned to the cell to enter.

           Supervisors were present six (6) times throughout the 24-hour period.




Exhibit 16 at 155
           Some positive takeaways:

                   Staff appeared to remain on post throughout the day.
                   Although there were door security issues observed after lock-in, it did not appear that individuals came out throughout the night.



           The snapshots in this document are meant to show examples of many of the security breakdowns and most of the Captain/supervisor
           appearances in the unit. They are not exhaustive.
                                                                                                                                                         Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 156 of 372




                                                           OVERALL FINDINGS                                                                                                                                                 3
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Exhibit 16 at 156
                           GRVC   C ² BUILDING  G 5A
                      Aprill 21,, 20222 ² Aprill 22,, 2022
                                                                   Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 157 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 157
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 158 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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                    NCU reviewed operations in GRVC Building 5A housing area between 06:00 AM on April 21, 2022, to 06:30
                    AM on April 22, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
                    apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
                    consistently:

                       Door issues observed throughout the day.
                       Individual observed smoking unknown substance.
                       Staff on the floor did conduct consistent tours upon assuming post.
                       Pantry issues and feeding protocol not adhered to.
                       Staff performing improper pat-frisks.
                       Pantry doors remained unsecured.
                       Unauthorized DOC uniforms observed.
                       Incarcerated individuals not secured according to 21:00 hours lock-in.




Exhibit 16 at 158
                       Staff off post during institutional lock-in.
                       Incarcerated individuals in vestibule area after 21:00 hour lock-in .
                       Little supervisory presence throughout the day outside of assisting within lock-in.

                    Supervisors were present three (3) time throughout the 24-hour period.

                    The snapshots in this document are meant to show examples of issues observed and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.
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Exhibit 16 at 159
                           GRVC   C ² BUILDING  G 5B
                      Aprill 21,, 20222 ² Aprill 22,, 2022
                                                                   Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 160 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 160
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 161 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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                    NCU reviewed operations in GRVC Building 5B housing area between 06:00 AM on April 21, 2022, to 06:30
                    AM on April 22, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
                    apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
                    consistently:

                     Staff appeared off post at times
                     Cell door issues were apparent throughout the day, including tampering of locking mechanisms.
                     Multiple individuals observed congregating in single cell
                     Pantry issues throughout the 24-hour period.
                     Unauthorized DOC uniforms observed.
                     Incarcerated individuals not secured after 21:00 lock-in, despite supervisors and staff in area to assist
                      with lock-in.
                     Incarcerated individual observed exiting cell with DOC institutional feeding pan.




Exhibit 16 at 161
                    Supervisors were present five (5) times throughout the 24-hour period.

                    The snapshots in this document are meant to show examples of issues observed and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.
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                                                     OVERALL FINDINGS                                                                                                                                3
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Exhibit 16 at 162
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                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 163 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 163
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 164 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
               NCU reviewed operations in Building 3 between     06:00 hours on September 2, 2022, to 06:30 hours on
                                                          Privileged & Confidential
               September 3, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
               apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
               consistently:
                Staff was not properly relieved.
                Staff were conducting improper pat-frisking.
                Cell doors and cleaning supplies were observed unsecured.
                Multiple incarcerated individuals were observed entering and exiting cells, freely.
                Staff assigned to 3A were constantly on/off post.
                Incarcerated individuals observed in the vestibule area.
                Incarcerated individuals observed in possession of contraband ʹ smoking an unknown substance.
                Supervisors were observed in 3A thirteen times throughout the 24-hour period.

               A few positives takeaways were:
                When supervisors toured the housing area, they addressed door security.




Exhibit 16 at 164
                At the end of the 3x11 tour, supervisors toured as a team. While touring observed addressing every cell,
                  ensure safety protocol was adhered to and supported staff.

               The snapshots in this document are meant to show examples of many of the security
               breakdowns and most of the Captain/supervisor appearances in the unit. They are not
               exhaustive.
                                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 165 of 372




                                                OVERALL FINDINGS                                                                                                                               3
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Exhibit 16 at 165
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                    Septemberr 2 and
                                   d Septemberr 3,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 166 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 166
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 167 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in Building 3B between     06:00 hours on September 2, 2022, to 06:30 hours on
September 3, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
consistently:
 Cell doors at times remained unsecured and incarcerated individuals freely entered cells together.
 Staff conducting improper pat-frisking.
 Unsanitary actions on the part of incarcerated individuals in the pantry area.
 Windows of cell doors were obstructed.
 Incarcerated individuals in possession of contraband ʹ unknown smoking substance.

A few positives takeaways were:
 Staff consistent with conducting watch pipe tours.
 Supervisors observed addressing issues and ensuring protocol is adhered to.
 Services were afforded.




 Exhibit 16 at 167
 Institutional 21:00 hours lock-in adhered to.
 Supervisors were observed in Building 3 approximately seventeen (17) times.

The snapshots in this document are meant to show examples of many of the security breakdowns
and most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 168 of 372




                                   OVERALL FINDINGS                                                                                                                          3
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Exhibit 16 at 168
                            BUILDINGG 7A
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                    Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
                    audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

                    While conducting these assessments, NCU will also note any apparent operational or security failures
                    that could potentially lead to violence. This includes, but is not limited to: door security, congregation
                    in vestibules, and staff failing to remain on post.

                    Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
                    HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 169
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                                          COMPLIANCE STRATEGY

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                       6WDIIZHUHFRQGXFWLQJLPSURSHUSDWIULVNLQJ

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                       0XOWLSOHLQFDUFHUDWHGLQGLYLGXDOVZHUHREVHUYHGHQWHULQJDQGH[LWLQJFHOOVIUHHO\LQFOXGLQJDIWHUKRXU ORFN
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                    The snapshots in this document are meant to show examples of many of the security breakdowns and
                    most of the Captain/supervisor appearances in the unit. They are not exhaustive.




Exhibit 16 at 170
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Exhibit 16 at 171
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                    Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
                    audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

                    While conducting these assessments, NCU will also note any apparent operational or security failures
                    that could potentially lead to violence. This includes, but is not limited to: door security, congregation
                    in vestibules, and staff failing to remain on post.

                    Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
                    HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 172
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                       &HOOGRRUVFRQVLVWHQWO\XQVHFXUHG

                       &HOOZLQGRZVREVWUXFWHG

                       0XOWLSOHLQGLYLGXDOVZHUHREVHUYHGHQWHULQJDQGH[LWLQJFHOOVLQFOXGLQJDIWHUWKHKRXU ORFNLQ

                       0XOWLSOHLQGLYLGXDOVREVHUYHGLQWKHYHVWLEXOHDUHD

                       6WDIIREVHUYHGRIISRVW


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                     6WDIIFRQGXFWHGZDWFKSLSHWRXUV
                     6XSHUYLVRUVZHUHREVHUYHGLQ%HLJKW  WLPHVZLWKLQWKHKRXU SHULRG




Exhibit 16 at 173
                     6XSHUYLVRUVDGGUHVVHGGRRUVHFXULW\ZKLOHWRXULQJ

                    The snapshots in this document are meant to show examples of many of the security breakdowns and
                    most of the Captain/supervisor appearances in the unit. They are not exhaustive.
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Exhibit 16 at 174
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                    Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
                    audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

                    While conducting these assessments, NCU will also note any apparent operational or security failures
                    that could potentially lead to violence. This includes, but is not limited to: door security, congregation
                    in vestibules, and staff failing to remain on post.

                    Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
                    HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 175
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                       &HOOGRRUVFRQVLVWHQWO\XQVHFXUHG

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                       KRXUORFNLQQRWHQIRUFHG

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                       6WDIIREVHUYHGRIISRVW

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Exhibit 16 at 176
                       6XSHUYLVRUVZHUHREVHUYHGRQO\ILYHWLPHV [ ZLWKLQDKRXUSHULRG

                    The snapshots in this document are meant to show examples of many of the security breakdowns and
                    most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                                      Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 177 of 372




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Exhibit 16 at 177
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                    Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
                    audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

                    While conducting these assessments, NCU will also note any apparent operational or security failures
                    that could potentially lead to violence. This includes, but is not limited to: door security, congregation
                    in vestibules, and staff failing to remain on post.

                    Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
                    HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 178
                                                                                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 179 of 372




                                          COMPLIANCE STRATEGY                                                                                                                                       2
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                    NCU reviewed operations in Building 4 B between 06:00 hours on 12/22/22, to 06:00 hours on
                    12/23/22. There were several issues observed throughout the 24-hour period:

                     Cell doors and food slots observed unsecured.

                     Multiple incarcerated individuals were observed entering and exiting cells freely.

                     Officers were not on post consistently.

                     There were no watch tours conducted.




Exhibit 16 at 179
                    Positive Takeaways
                     Supervisors were observed present nine (9) times within a 24-hour period.

                    The snapshots in this document are meant to show examples of many of the security breakdowns
                    and most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                   Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 180 of 372




                                                OVERALL FINDINGS                                                                                                                      3
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                                                                             Exhibit 16 at 180
                                             Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 181
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 182 of 372




                             COMPLIANCE STRATEGY                                                                                                                              2
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NCU reviewed operations in GRVC 7A between 6:00 AM on 02/20/23 to 6:00 AM on 02/21/23. There were
numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 During the morning tour, the officer did not stay on post consistently.

 Housing Area feeding pantry door unsecured. Pantry workers, were not in proper garments i.e. hats,
  gloves and aprons

 The lights in the housing area were not turned on.




Exhibit 16 at 182
 Individuals were gathered in unauthorized assembly in pantry and stairwell areas.

 The supervisors were present six (6) times within a 24-hour period. It appears there were no supervisor
  tours during the 3x11 shift.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 183 of 372




                                  OVERALL FINDINGS                                                                                                                             3
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                    SUPERVISOR
                             R TOURSS AND
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Exhibit 16 at 183
                             3B
                              B 03/26/2023
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 184 of 372




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                                             Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 184
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 185 of 372




                             COMPLIANCE STRATEGY                                                                                                                              2
                                             Privileged & Confidential
NCU reviewed operations in GRVC 3B between 6:00 AM on 03/26/23 to 6:00 AM on 03/27/23. The
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 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 Officers observed off post.

 Housing Area feeding pantry door unsecured. Pantry workers, were not in proper garments i.e. hats,
  ŐůŽǀĞƐĂŶĚĂƉƌŽŶƐ͘W/͛ƐŽĐĐƵƉŝĞĚƚŚĞWĂŶƚƌǇƌĞĂ͕ǁŚĞƌĞĨĞĞĚŝŶŐƐŚŽƵůĚďĞĚŝƐƚƌŝďƵƚĞĚ͘/ŶĚŝǀŝĚƵĂůƐ
  were gathered in unauthorized assembly in pantry area.

 The supervisors were present eight (8) times within a 24-hour period.




Exhibit 16 at 185
 Officers did not utilize tour pipes while conducting tours.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                   OVERALL FINDINGS                                                                                                                            3
                                 Privileged & Confidential




                    SUPERVISOR
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Exhibit 16 at 186
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                      A 05/07/23
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                                    0 ² 05/08/23
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                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 187 of 372




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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to: door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 187
                                                                                                           Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 188 of 372




                             COMPLIANCE STRATEGY                                                                                                                              2
                                            Privileged & Confidential
NCU reviewed operations in GRVC 9A between 6:00 AM on 05/07/23 to 6:00 AM on 05/08/23. There were
numerous issues throughout the 24-hour period:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells throughout the
  audit.

 During the morning tour, there was no officer on post consistently until 1339 hours.

 Housing Area feeding pantry door unsecured. PICs made their own food trays during morning feeding.
  (Unsanitary; no hats, gloves, or aprons).

 The lights in the housing area were not turned on during the morning Institutional feeding.




Exhibit 16 at 188
 There was no officer on the floor for the majority of 0700x1531, 1500x2331, 2300x0731 tours
  (consistently).

 Supervisors toured only four (4) times within a 24-hour period.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 189 of 372




                                  OVERALL FINDINGS                                                                                                                             3
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Privileged & Confidential




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                                            SUPERVISOR




                                                                              Exhibit 16 at 189
                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 190
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 191 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
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         NCU reviewed operations in 3 C between 6:00 AM on 1/28/22 to 6:00 AM on 1/29/22. Some of the
         ongoing issues that have been referenced by the Nunez Monitor were apparent. While this location
         appeared to be better managed than some others reviewed by NCU, there were still issues observed. The
         security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

          Several cameras was observed obstructed within the 24 hour period. It appears that there was no
           attempts made to have the obstructions removed.

          Food slots remained unsecured throughout the 24 hours period.

         The positives were:




Exhibit 16 at 191
          Significant supervisor presence throughout the 24-hour period (total of 21 separate times supervisors
           were observed in area (including captains, ADWs, DW Miller, and the Warden).
          Doors were generally secured.
          Cuffing procedures appeared to be better than other facilities observed.
          Staff appeared to conduct fairly frequent tours and review of the area.


         The snapshots in this document are meant to show examples of many of the security
         breakdowns and most of the Captain/supervisor appearances in the unit. They are not
         exhaustive.
                                                                                                                   Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 192 of 372




                                          OVERALL FINDINGS                                                                                                                            3
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Privileged & Confidential




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                                            SUPERVISOR




                                                                              Exhibit 16 at 192
                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 193
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 194 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                                            Privileged & Confidential
NCU reviewed operations in 3 D between 6:00 AM on 1/31/22 to 6:00 AM on 2/01/22. Some of the ongoing
issues that have been referenced by the Nunez Monitor were apparent. While this location appeared to be
better managed than some others reviewed by NCU, there were still issues observed. The security practices
that were outlined in recent teletypes did not appear to be adhered to consistently:

                       Several cameras observed obstructed within a 24 hour period.

                       Officer observed off post during the morning tour.

                       Multiple obstructions are observed on several cameras in the housing area that does not
                        appeared to be addressed throughout the 24 hour period.

The positives were:




    Exhibit 16 at 194
 Significant supervisor presence throughout the 24 hour period- (total of 14 times, Including
  Deputy Wardens, ADW and Captains).
 Doors were generally secured.
 Cuffing procedures appeared to be better than other facilities observed.
 Staff appeared to conduct fairly frequent tours and review of the area.

The snapshots in this document are meant to show examples of many of the security breakdowns
and most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 195 of 372




                                                    OVERALL FINDINGS                                                                                                                 3
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                    SUPERVISOR
                             R TOURSS ANDD SECURITY
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Exhibit 16 at 195
                            DORM
                               M 1² 2/01/22
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 196 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 196
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 197 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
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NCU reviewed operations in NIC Dorm 1 between 6:00 AM on 2/01/22 to 6:00 AM on 2/02/22. Some of
the ongoing issues that have been referenced by the Nunez Monitor were apparent. There were not too
many issues observed:

 Individuals in the housing area appears to remain in the dayroom watching television after the 21:00
  hour lock-in.

 The supervisor was observed present seven( 7) times throughout a 24 hour period.

Staff appeared to remain on post consistently throughout the day and no other issues were observed.




Exhibit 16 at 197
The snapshots in this document are meant to show examples of many of the security breakdowns and
most of the Captain/supervisor appearances in the unit. They are not exhaustive.
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                                 OVERALL FINDINGS                                                                                                                           3
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                    SUPERVISOR
                             R TOURSS ANDD SECURITY
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Exhibit 16 at 198
                           DORM
                              M 2 B² 2/01/22
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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 199
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 200 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                           Privileged & Confidential


NCU reviewed operations in Dorm 2 B between 6:00 AM on 2/01/22 to 6:00 AM on 2/02/22. Some of the
ongoing issues that have been referenced by the Nunez Monitor were apparent. While this location
appeared to be better managed than some others reviewed by NCU, there were still issues observed. The
security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

 No staff on post consistently. There was significant periods of time where no staff member was on the
  floor. During possible tour changes, some staff appeared to leave the area prematurely before being
  properly relieved.

 The supervisors toured seven (7) times within a 24 hour period.




Exhibit 16 at 200
The snapshots in this document are meant to show examples of many of the security breakdowns and
most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 201 of 372




                                 OVERALL FINDINGS                                                                                                                            3
                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 202 of 372




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                                            SUPERVISOR




                                                                              Exhibit 16 at 201
                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 202
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 203 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in 2 A between 7:00      AM on 2/15/22 to 7:00 AM on 2/16/22. Some of the
                                             Privileged & Confidential
ongoing issues that have been referenced by the Nunez Monitor were apparent. While this location
appeared to be better managed than some others reviewed by NCU, there were still issues observed. The
security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

 The entrance gate was observed unsecured throughout the 24-hour period.
 Staff on post consistently ʹ During the audit, staff was observed briefly leaving the post but returned
  within several minutes.
 Several cameras were observed obstructed. No one appears to ask for the obstruction to be removed.
 Food slots remained unsecured at times (Though there did appear to be efforts to address them, but
  inconsistently.)

The positives were:

 Significant supervisor presence throughout the 24-hour period (total of 12 separate times supervisors




Exhibit 16 at 203
  were observed in area (including captains, ADWs, and DW Miller)
 There appeared to be better efforts to address issues than other areas
 Doors were generally secured
 Individuals were not observed freely entering and exiting cells
 Cuffing procedures appeared to be better than other facilities observed
 Staff appeared to conduct fairly frequent tours and reviews of the area.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 204 of 372




exhaustive.

                                  OVERALL FINDINGS                                                                                                                             3
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                                                                              Exhibit 16 at 204
                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 205
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 206 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in 2B between 7:00 AM on 2/14/22 to 7:00 AM on 2/15/22. Some of the ongoing
                                             Privileged & Confidential
issues that have been referenced by the Nunez   Monitor were apparent. While this location appeared to be
better managed than some others reviewed by NCU, there were still issues observed. The security practices
that were outlined in recent teletypes did not appear to be adhered to consistently:

 The entrance gate appears to remain open for extended period of time. The Officer rarely closed the
  gate throughout the tours.
 Multiple obstructions are observed on several cameras in the housing area. The Officer removed some
  obstructions, and appeared to request inmates for the obstructions to be removed later in the day.
  However, it appears the individuals in the area obstructed the cameras once again.
 Unsecured food slots

The positives were:
 Doors were generally secured
 Cuffing procedures appeared to be better than other facilities observed.




Exhibit 16 at 206
 Staff appeared to conduct fairly frequent tours and review of the area.
 Tour Commanders and Captain appear to follow protocol regarding tours in this housing area. However,
  on the midnight tour, a Captain is observed signing the logbook and exiting the area without making a
  tour. Supervisors where present eight (8) times within a 24 hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 207 of 372




                                  OVERALL FINDINGS                                                                                                                             3
                                Privileged & Confidential




                    SUPERVISOR
                             R TOURSS ANDD SECURITY
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Exhibit 16 at 207
                             NIC
                               C 3B² 3/25/22
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 208 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 208
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 209 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                               Privileged & Confidential


                    NCU reviewed operations in NIC 3B between 6:00 AM on 3/25/22 to 6:00 AM on 3/26/22. Some of the
                    ongoing issues that have been referenced by the Nunez Monitor were apparent. While this location
                    appeared to be better managed than some others reviewed by NCU, there were still issues observed:

                     Several obstructions on cameras observed throughout the day in the cells.

                     Staff left post on several occasions, but only early in the day. This was not observed on other tours.


                    There was a significant supervisory presence throughout the day, including the Warden. Supervisors were
                    present 15 times within a 24-hour period.




Exhibit 16 at 209
                    Issues with door security and food slots were not observed, which is encouraging. Securing slots is
                    essential to reducing both assaults on staff and use of force incidents at NIC.


                    The snapshots in this document are meant to show examples of issues observed and most of
                    the Captain/supervisor appearances in the unit. They are not exhaustive.
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                                                     OVERALL FINDINGS                                                                                                                             3
                                Privileged & Confidential




                    SUPERVISOR
                             R TOURSS ANDD SECURITY
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Exhibit 16 at 210
                             NIC
                               C 3A² 3/26/22
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 211 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 211
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 212 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                               Privileged & Confidential

                    NCU reviewed operations in NIC 3A between 6:00 AM on 3/26/22 to 6:00 AM on 3/27/22. This location
                    appeared to be better managed than some others reviewed by NCU. The only major issue observed was:

                     Several cameras observed obstructed.

                    Supervisors were observed in the housing area eight (8) times within a 24-hour period.

                    No issues with door security and/or food slots were observed, which is encouraging. Slot security is critical
                    to reducing assaults on staff and uses of force in the facility.

                    The snapshots in this document are meant to show examples of issues observed and most of
                    the Captain/supervisor appearances in the unit. They are not exhaustive.




Exhibit 16 at 212
                                                                                                                                    Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 213 of 372




                                                     OVERALL FINDINGS                                                                                                                                  3
                                Privileged & Confidential




                    SUPERVISOR
                             R TOURSS ANDD SECURITY
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Exhibit 16 at 213
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                              M 5 NORTH² 4/04/22
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 214 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 214
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 215 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in Dorm 5 North between 6:00 AM on 4/4/22 to 6:00 AM on 4/05/22. The
major issue that was observed by NCU was:

 Officers were not on post consistently. Staff were off post for significant periods of time.


Supervisors present seven (7) times within a 24 hour period.


The snapshots in this document are meant to show examples of issues observed and most of
the Captain/supervisor appearances in the unit. They are not exhaustive.




Exhibit 16 at 215
                                                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 216 of 372




                                   OVERALL FINDINGS                                                                                                                 3
                                Privileged & Confidential




                    SUPERVISOR
                             R TOURSS ANDD SECURITY
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Exhibit 16 at 216
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                         C DORM
                              M 5 SOUTH² 4/04/22
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 217 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 217
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 218 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in Dorm 5 South between 6:00 AM on 4/4/22 to 6:00 AM on 4/05/22. The
major issue observed was:

 Officers were not on post consistently. There were significant periods of time where no officer was on
  the floor.

The supervisor was present seven (7) times within a 24 hour period




Exhibit 16 at 218
The snapshots in this document are meant to show examples of the issues observed and most
of the Captain/supervisor appearances in the unit. They are not exhaustive.
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                                  OVERALL FINDINGS                                                                                                                            3
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Exhibit 16 at 219
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Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 220
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 221 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                                                         Privileged & Confidential
NCU reviewed operations in OBCC 3 South and 3 Southwest between 6:00 AM on 2/20/22 to 6:00 AM on 2/21/22.
Some of the ongoing issues that have been referenced by the Nunez Monitor were apparent. The security practices that
were outlined in recent teletypes did not appear to be adhered to consistently:

                       There were no officers on the floor posts in either unit over 24 hours. It appears these were unstaffed posts. As
                        result, many issues were observed in the housing area, including:

                                 Contraband was easily passed through housing area entrance right by A station.

                                 Cell doors were unsecured throughout the 24 hour period.

                                 :ĂŶŝƚŽƌ͛ƐĐůŽƐĞƚƐǁĞƌĞůĞĨƚƵŶƐĞĐƵƌĞŝŶďŽƚŚĂƌĞĂƐ͘/ŶĚŝǀŝĚƵĂůƐĚŝĚŶŽƚƌĞƋƵŝƌĞĂƐƐŝƐƚĂŶĐĞƚŽĂĐĐĞƐƐƐƵƉƉůŝĞƐ͘

                                 DOC institutional feeding procedures were not adhered to (feeding on table in open area no use of pantry).
                                  Individuals conduct feeding without utilizing hair nets, gloves and aprons.




    Exhibit 16 at 221
                                 Lock-in was not adhered to.

                       Supervisors were only present once over 24 hours in each housing area. When they were present, it did appear they
                        made efforts to address some of the issues. It should be noted that given there was likely no officer assigned, the
                        supervisor was not in a position to abate all issues.

The snapshots in this document are meant to show examples of many of the security breakdowns and
most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                                                    Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 222 of 372




                                                             OVERALL FINDINGS                                                                                                                                          3
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                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
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Exhibit 16 at 222
                         OBCC
                            C 1 NORTH² 5/02/22
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 223 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 223
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 224 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                             Privileged
                    NCU reviewed operations in 1 North between   6:00 AM& Confidential
                                                                           on 5/02/22 to 6:00 AM on 5/03/22. Some of the
                    ongoing issues that have been referenced by the Nunez Monitor were apparent:

                     Cell doors remained unsecured.

                     1500 lock-in not enforced

                     2100 lock-in not enforced although it appeared the officer attempted to have the individuals lock in.

                     This appeared to be an unstaffed area until approximately 10:36 hours.

                     There was no officer on post from 21:20 hours up until the completion of the audit.

                     Even when there was an officer assigned to the area, he/she was off post for significant periods of time.




Exhibit 16 at 224
                     A captain was present in the housing area only one (1) time within a 24 hour period


                    The snapshots in this document are meant to show examples of issues observed and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 225 of 372




                                                    OVERALL FINDINGS                                                                                                                                 3
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Exhibit 16 at 225
                         OBCC
                            C 1 WEST² 5/04/22
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 226 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 226
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 227 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                            Privileged & Confidential


NCU reviewed operations in 1 West between 6:00 AM on 5/04/22 to 6:00 AM on 5/05/22. Some of the
ongoing issues that have been referenced by the Nunez Monitor were apparent:

 Cell doors remained unsecured and incarcerated individuals freely entered cells together.

 This location appeared to be an unstaffed area until around 0900 hours.

 Even when it was staffed, staff routinely entered the A station and did not remain on post ʹ there were
  still significant periods of time where no staff member was on the floor.

 Individuals were able to congregate in the vestibule for a period of time.




Exhibit 16 at 227
 Lock-in was not enforced.

Supervisors were observed in the area seven (7) times within a 24 hour period.

The snapshots in this document are meant to show examples of issues observed and most of the
Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 228 of 372




                                  OVERALL FINDINGS                                                                                                                             3
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Exhibit 16 at 228
                         OBCC
                            C 1 UPPER² 5/05/22
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 229 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 229
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 230 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                Privileged & Confidential


     NCU reviewed operations in 1 Upper between 6:00 AM on 5/05/22 to 6:00 AM on 5/06/22. Some of the
     issues referenced by the Nunez Monitor were apparent from this audit:


      No staff on post consistently ʹthere were significant periods of time where no staff member was on the
       floor. Staff routinely entered the A Station without proper relief.

      There was no officer on post from 00:02 to the end of the audit at 06:00 hours.

      2100 hour lock-in did not appear to be enforced.

     Supervisors were present seven (7) times withing a 24-hour period.




Exhibit 16 at 230
     The snapshots in this document are meant to show examples of issues observed and most of the
     Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 231 of 372




                                      OVERALL FINDINGS                                                                                                                             3
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Exhibit 16 at 231
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                            C 2 UPPER² 5/05/22
                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 232 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 232
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 233 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                           Privileged & Confidential


NCU reviewed operations in 2 Upper between 6:00 AM on 5/05/22 to 6:00 AM on 5/06/22. Some issues
observed were the following:

 No staff on post consistently ʹ there were significant periods of time where no staff member was on the
  floor. Staff also appeared to enter the A Station without proper relief.

 2100 hour lock-in did not appear to be enforced.

 Individuals were able to manipulate the main entrance door to the housing area and exit the location
  without authorization.

Supervisors were present seven (7) times withing a 24-hour period.




Exhibit 16 at 233
The snapshots in this document are meant to show examples of issues observed and most of the
Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 234 of 372




                                 OVERALL FINDINGS                                                                                                                              3
                        Privileged & Confidential
                                          NEW YORK CITY DEPARTMENT OF CORRECTION
                                                         Vincent Schiraldi, Commissioner

                                                                               Marshall Volk
                                                                      Assistant Commissioner
                                                                      Nunez Compliance Unit
                                                                        90 Construction Way
                                                             East Elmhurst, New York 11370
                                                                                 718-546-5651




    Exhibit 16 at 234
                                                                                                Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 235 of 372
                                                                 HOUSING      Confidential
                                                                 Privileged & AREA    2US
Date:                               December 30, 2021

To:                                 Sharlisa Walker, Warden of the Robert N. Davoren Center

From:                               Marshall Volk, Assistant Commissioner of the Nunez Compliance Unit

Subject:                            2 Upper Review on December 21, 2021

                                                                               Background

Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits of housing areas to review
if supervisors are conducting tours as required in Teletype Order # HQ -02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures that could potentially
lead to additional violence. This includes, but is not limited to door security, congregation in vestibules, and staff failing to
remain on post.




                                                                     Management of Housing Areas

For both 2UN and 2US, many of the ongoing issues that have been referenced by the Nunez Monitor were apparent. The security
practices that were outlined in recent teletypes did not appear to be adhered to consistently:

                           Cell doors remained unsecured and incarcerated individuals freely entered cells together without any intervention from
                            staff. 2 Upper is an area where new cells doors have been installed.
                           No staff on post consistently/unmanned posts despite different officers going in and out of the area for security, services,




    Exhibit 16 at 235
                            and escorts
                           The doors leading to the vestibule were unsecured and allowing incarcerated individuals routinely to go in and out of
                            the housing area
                           Lock-in was not enforced as no staff were on post.

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                                 S - RNDC




Exhibit 16 at 236
                         5 Centrall North
                                        h ² 2/28/22
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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 237
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 238 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                                                        Privileged & Confidential
     NCU reviewed operations in 5 Central North between 6:00 AM on 2/28/22 to 6:00 AM on 3/01/22. Some of the ongoing issues that have
     been referenced by the Nunez Monitor were apparent. While this location appeared to be better managed than some others reviewed by
     NCU, there were still issues observed. The security practices that were outlined in recent teletypes did not appear to be adhered to
     consistently:

                   Staff off post consistently, particularly on the 0600x1800 tour ʹ officers viewed briefly walking down the tier and updating logbook but
                    mostly in the A Station (off post).

                   Proper tours and security inspections were not conducted.

                   Pantry door was left unsecured.

                   Cell doors were unsecured throughout the tour, but it should be noted this is an area where new doors have not been installed.

                   Officer was off post while programming staff were present in area.

                   Lock-in was not meaningfully enforced.




Exhibit 16 at 238
                   Officer on 0600x1800 tour engaged in some suspicious behavior, which was been forwarded for further investigation.

     Some positives were:

                   Supervisors were present on five (5) separate occasions over the 24 hour period. When present, they did appear to address issues,
                    including addressing the officer who appeared to be off post.

                   The officer on the 1800x0600 tour was on post far more consistently and appeared to be more engaged in his duties.

     The snapshots in this document are meant to show examples of many of the security breakdowns and most of the
     Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 239 of 372




                                                             OVERALL FINDINGS                                                                                                                                                     3
                                 Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
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                            ISSUES
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Exhibit 16 at 239
                        5 Centrall SOUTH
                                       H ² 2/28/22
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 240 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 240
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 241 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in 5 Central SOUTHPrivileged    Confidential
                                             between&6:00   AM on 2/28/22 to 6:45 AM on 3/01/22. Some of
the ongoing issues that have been referenced by the Nunez Monitor were apparent. The security practices that
were outlined in recent teletypes did not appear to be adhered to consistently:

 Staff off post consistently ʹ officers viewed briefly walking down the tier and updating logbook but mostly in
  the A Station (off post). However, second relief remained on post more consistently.

 Proper tours and security inspections were not conducted.

                   Cells were unsecured throughout the day. The pantry was not properly secured throughout the day.

                   Staff were off post while programming staff were present in area.

                   Lock-in was not enforced properly. However, it should be noted this is an area where new cell doors have




Exhibit 16 at 241
                    not been installed.

Supervisors were present on four (4) occasions in a 24-hour period. When present, they did appear to address
issues in the area.

The snapshots in this document are meant to show examples of many of the security breakdowns
and most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 242 of 372




                                                  OVERALL FINDINGS                                                                                                                                3
                                 Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
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Exhibit 16 at 242
                         6 Centrall North
                                        h ² 3/2/22
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 243 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 243
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 244 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in 6 Central North Privileged
                                              between &6:00 AM on 3/02/22 to 6:00 AM on 3/03/22. Some
                                                         Confidential
of the ongoing issues that have been referenced by the Nunez Monitor were apparent. The security
practices that were outlined in teletypes did not appear to be adhered to consistently:

 Overall, this appeared to be a challenging housing area where individuals were resistant to following
  orders.
 Doors remained unsecured. It did appear that officer made efforts to address issues, but was given
  resistance from population.
 Officer on 0600x1800 tour generally remained on post, except for the beginning of his tour.
 Institutional Feeding not conducted according to protocol
 Emergency Lock-In of housing area did not appear to be called into COD
 Food slots were unsecured after emergency lock-in. A fire was started on the tier.
 Officer on the 1800x0600 tour was off post for extended periods of time.
 After returning from court production, escort officer did not walk individual to cell and secure him.
 Individuals were observed in vestibule when food arrived. Officer appeared to struggle managing




Exhibit 16 at 244
  individuals at this point.


Supervisors were observed in area on five (5) separate occasions over the 24-hour period. They did appear
to make efforts to address issues in the housing area when present.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 245 of 372




                                  OVERALL FINDINGS                                                                                                                             3
                                 Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
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Exhibit 16 at 245
                        6 Centrall SOUTH
                                       H ² 3/02/22
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 246 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 246
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 247 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in 6 Central South Privileged  Confidential
                                            between &6:00 AM on 3/02/22 to 6:00 AM on 3/03/22. Some
of the ongoing issues that have been referenced by the Nunez Monitor were apparent. :

                   Staff not on post consistently
                   Proper tours and security inspections were not conducted.
                   Institutional feeding was not conducted pursuant to policy.
                   Individuals were able to kick vestibule door out to breach the housing area and enter the corridor.
                   Supervisors were observed three (3) times over the 24 hour period


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.




Exhibit 16 at 247
                                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 248 of 372




                                                   OVERALL FINDINGS                                                                                                                          3
                                  Privileged & Confidential




                    SUPERVISOR
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Exhibit 16 at 248
                        RNDC² 3 UPPER     R NORTH
                      Aprill 24,, 2022
                                     2 ² Aprill 25,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 249 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 249
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 250 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                    NCU reviewed operations in RNDC BuildingPrivileged
                                                                 3 Upper & Confidential
                                                                          North housing area between 06:00 AM on April 24,
                    2022, to 06:30 AM on April 25, 2022. While this area appeared to be better managed than others audited
                    by NCU, some of the ongoing issues that have been referenced by the Nunez Monitor were apparent. The
                    security practices that were outlined in recent teletypes did not appear to be adhered to consistently:

                       First staff member was off post without proper relief.
                       Cell windows were observed obstructed/covered at times
                       Food slots appeared unsecured at times
                       Braiding of hair observed in pantry
                       Some cell doors were not secured consistently
                       Supervisors were observed only one (1) time throughout the 24-hour period.

                    A few positive takeaways from this audit were:




Exhibit 16 at 250
                     Staff # 2 and Staff # 3 remained on post consistently throughout the day
                     Door security appeared to be better managed than in the past, though some improvements can be
                      made based on observations above
                     Staff appeared to be more engaged with population than in previous audits

                    The snapshots in this document are meant to show examples of issues observed and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                              Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 251 of 372




                                                    OVERALL FINDINGS                                                                                                                             3
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Exhibit 16 at 251
                        RNDC² 3 UPPER     R SOUTH
                      Aprill 24,, 2022
                                     2 ² Aprill 25,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 252 of 372




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                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 252
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 253 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                               Privileged & Confidential

                    NCU reviewed operations in RNDC Building 3 Upper South housing area between 06:00 AM on April 24,
                    2022, to 06:30 AM on April 25, 2022. This area appeared to be better managed than past housing areas at
                    RNDC. A few issues were observed:

                     While staff remained on post consistently, there was a period between tours where no staff were on
                      post.
                     During this change of tour, some doors were unsecured and multiple individuals congregated in a cell.
                     Initially, Staff # 2 did not address this, but later appeared to be conducting diligent tours and securing
                      doors.
                     Supervisor was observed only one (1) time throughout the 24-hour period.

                    Some positive takeaways from this audit were:




Exhibit 16 at 253
                     Sanitation appeared to be better managed
                     Both staff members conducted tours and appeared to secure doors more consistently than other areas
                     Both staff members appeared to remain on post throughout their tours


                    The snapshots in this document are meant to show examples of issues observed and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                                   Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 254 of 372




                                                     OVERALL FINDINGS                                                                                                                                 3
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Exhibit 16 at 254
                       RNDC² 6 CENTRAL      L NORTH
                      Aprill 25,, 2022
                                     2 ² Aprill 26,, 2022
                                                                  Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 255 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 255
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 256 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                                        Confidential
                    NCU reviewed operations in RNDC BuildingPrivileged
                                                             6 Central&North  housing area between 06:00 AM on April 25,
                    2022, to 06:30 AM on April 26, 2022. Some of the ongoing issues that have been referenced by the Nunez
                    Monitor were apparent:

                       Only one relieving staff member counted an institutional count upon assuming post.
                       Cell doors were unsecured and obstructed throughout the day despite touring.
                       Cell windows were obstructed throughout the day and evening despite presence of supervisors.
                       Individuals were observed congregating in unsecured cells
                       Pantry protocol and feeding were not adhered to
                       Utilizing institutional hot pot to prepare non-DOC meal while staff is in clear eyesight of the action.
                       Hotpot did not appear to be secured and locked
                       Institutional lock-in protocol was not adhered to
                       Incarcerated individuals observed tampering with locking mechanisms.
                       During the overnight hours, staff appeared to only enter and exit housing area to conduct a watch pipe




Exhibit 16 at 256
                        tour and then congregated in A Station.

                    Supervisors were present four (4) times throughout the 24-hour period.

                    The snapshots in this document are meant to show examples of issues observed and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.
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                                                     OVERALL FINDINGS                                                                                                                                3
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                             R TOURSS AND
                                        D SECURITY
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Exhibit 16 at 257
                       RNDC² 6 CENTRAL      L SOUTH
                      Aprill 25,, 2022
                                     2 ² Aprill 26,, 2022
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 258
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 259 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                    NCU reviewed operations in RNDC BuildingPrivileged  Confidential
                                                              6 Central&North housing area between 06:00 AM on April 25,
                    2022, to 06:30 AM on April 26, 2022. Some of the ongoing issues that have been referenced by the Nunez
                    Monitor were apparent, though this area did appear to be better managed than other areas reviewed and
                    audited.

                     While doors were secure for parts of the day, there were times where they remained unsecured.
                     Cell windows appeared to be obstructed despite presence of staff, supervisors, and security team for
                      2100 lock-in.
                     Institutional feeding was not conducted according to pantry protocol.
                     Pantry issues were observed.

                    Some positive takeaways:
                     Staff did appear to remain on post throughout the audit period
                     Lock-in was enforced after supervisors and security team responded to area




Exhibit 16 at 259
                     Watch tours were observed (though issues were apparent that should have been addressed when
                      conducting tour)
                     While door security issues were observed, generally, it appeared to be better managed than other
                      areas audited


                    Supervisors were present six (6) times throughout the 24-hour period.
                    The snapshots in this document are meant to show examples of issues observed and most of the
                    Captain/supervisor appearances in the unit. They are not exhaustive.
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                                                    OVERALL FINDINGS                                                                                                                            3
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                    SUPERVISOR
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Exhibit 16 at 260
                          RNDC² 5 Lowerr North
                       June
                          e 4,, 2022
                                   2 ² June
                                          e 5,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 261 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 261
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 262 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
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NCU reviewed operations in RNDC Building 5 Lower North housing area between 06:00 AM on June 4, 2022, to 06:30
AM on June 5, 2022. This housing area appeared to be on lockdown for the entire 24-hour period. While CO Gahtan
appeared to tour consistently and confirm live, breathing individuals, issues were observed:

                   Cell slots remained unsecured.
                   ƵƌŝŶŐƚŚĞƚŽƵƌ͕ƐĞǀĞƌĂůŝŶĐĂƌĐĞƌĂƚĞĚŝŶĚŝǀŝĚƵĂůƐĂƌĞŽďƐĞƌǀĞĚĞŶŐĂŐŝŶŐŝŶ͚ĨŝƐŚŝŶŐ͕͛KĨĨŝĐĞƌGahtan appeared to assist
                    at one point.
                   Institutional feeding was not conducted according to pantry protocol (though this could be because of the lockdown)
                   Incarcerated individuals causing hazardous situation that was not addressed for two (2) tours (flooding)
                   Incarcerated individuals manipulating cell slots.
                   On the 1800 tour, while touring was conducted, staff did not appear to utilize all three watch tour ports consistently.
                   Staff assigned did not wait to be properly relieved by assigned staff for next tour.

Positive results:
Officer Gahtan constantly toured and checked every occupied cell for live/breathing incarcerated individuals.




Exhibit 16 at 262
Staff were generally on post outside of a few instances which are cited.

Supervisors was present four (4) times throughout the 24-hour period.

The snapshots in this document are meant to show examples of issues observed and most of the Captain/supervisor
appearances in the unit. They are not exhaustive.
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                                                       OVERALL FINDINGS                                                                                                                                          3
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Exhibit 16 at 263
                         RNDC² 5 Lowerr South
                       June
                          e 4,, 2022
                                   2 ² June
                                          e 5,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 264 of 372




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Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 264
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 265 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                                                         Privileged & Confidential
         NCU reviewed operations in RNDC Building 5 Lower South housing area between 06:00 AM on June 4,
         2022, to 06:30 AM on June 5, 2022. While some touring did appear to be occurring, issues were identified:

                   6WDIIRQDQGRIIDVVLJQHGSRVWWKURXJKRXWWKHSHULRG
                   6WDIIFRQGXFWHGWRXUVZLWKRXWORRNLQJLQWRFHOOV
                   6WDIIGLGQRWDGGUHVVXQVHFXUHGGRRUVFHOOVORWV
                   6WDIIZHUHOD[ZLWKZDWFKWRXUSLSHHTXLSPHQW
                   &HOOGRRUVUHPDLQHGXQORFNHGDOORZLQJIRUWKHLQFDUFHUDWHGLQGLYLGXDOVWRHQWHUDQGH[LWIUHHO\
                   6WDIIRQDVVLJQHGSRVWREVHUYHGWKHLQFDUFHUDWHGLQGLYLGXDOVHQWHULQJDQGH[LWLQJXQORFNHGFHOOVDQGGLGQRWDGGUHVV
                   ,QVWLWXWLRQDOIHHGLQJZDVQRWFRQGXFWHGDFFRUGLQJWRSDQWU\SURWRFRO
                   ,QFDUFHUDWHGLQGLYLGXDOVKRXVHGLQ/RZHU6RXWKDSSHDUHGWRµFODLP¶DSDUWLFXODUSKRQH OLNHO\65*GULYHQ 
                   ,QVWLWXWLRQDOWRXUORFNLQQRWDGKHUHGWR
                   ,QVWLWXWLRQDOWRXUORFNLQQRWDGKHUHGWR
                   6WDIIDVVLJQHGWRWKH[WRXUFRQGXFWHGLQFRQVLVWHQWWRXUV
                   6WDIIDVVLJQHGWRWKH[WRXUYLHZHGWKHLQFDUFHUDWHGLQGLYLGXDOV¶WHOHYLVLRQIRUKRXUVZKLOHRQDVVLJQHGWRXU
                   6WDIIDVVLJQHGWRWKH[WRXUH[FKDQJHGSRVWDIWHU2IILFHU0RQWDQH]OHIWKLVDVVLJQHGSRVWDQGUHWXUQHGDIWHUWKLUW\PLQXWHV




Exhibit 16 at 265
                   2IILFHU0RQWDQH]PD\KDYHEHHQLQSRVVHVVLRQRISHUVRQDO'95UHFRUGLQJVWKDWZHUHXVHGRQWHOHYLVLRQ

         6XSHUYLVRUVZHUHSUHVHQWIRXU  WLPHVWKURXJKRXWWKHKRXUSHULRG

         7KHVQDSVKRWVLQWKLVGRFXPHQWDUHPHDQWWRVKRZH[DPSOHVRILVVXHVREVHUYHGDQGPRVWRIWKH&DSWDLQVXSHUYLVRUDSSHDUDQFHVLQWKHXQLW
         7KH\DUHQRWH[KDXVWLYH
                                                                                                                                                              Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 266 of 372




                                                            OVERALL FINDINGS                                                                                                                                                     3
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Exhibit 16 at 266
                       4 CENTRAL
                               L NORTH² 7/04/22
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 267 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 267
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 268 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 4 Central North between 6:00 AM on 7/04/22 to 6:00 AM on 07/05/22. While
there was routine touring conducted and tour wands were utilized, there were issues observed:

                   Staff were on and off post without proper relief
                   Cell doors were unsecured and multiple individuals were observed entering single cell
                   Cell windows were obstructed and unaddressed
                   Food slots were unsecured
                   Despite use of tour wands and walking by some of the issues described above, these issues often went
                    unaddressed. Some problems were addressed when supervisors entered the area.

Supervisors were present five (5) times within a 24 hour period.




Exhibit 16 at 268
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                                  OVERALL FINDINGS                                                                                                                            3
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Exhibit 16 at 269
                       4 CENTRAL
                               L SOUTH² 7/07/22
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 270 of 372




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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 270
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 271 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 4 Central South between 6:00 AM on 7/07/22 to 6:00 AM on 07/08/22. While
tour wands were utilized and lock-in did appear to be adhered to, there were several issues observed.

 Staff were on and off post without proper relief throughout the 24-hour period.
 Cell doors were unsecured.
 Staff (particularly on the midnight tour), appeared to go off post and only reenter the housing area to
  conduct tours with tour wand.

 Supervisors were present five (5) times within the 24-hour period.


The snapshots in this document are meant to show examples of many of the security




Exhibit 16 at 271
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                             3
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Exhibit 16 at 272
                         3 MAIN
                              N NORTH² 7/14/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 273
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 274 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 3 Main North between 6:00 AM on 7/14/22 to 6:00 AM on 07/15/2022.
While tour wands were used routinely, and lock-in was enforced, there were issues observed:

 Cell doors at times remained unsecured and incarcerated individuals freely entered cells together at
  times . This is a location here new cell doors have been installed. Despite use of tour wands and
  obvious issues, officer did not address these issues consistently.

 No staff on post consistently ʹDuring the earlier tour there were still significant periods of time where
  no staff member was on the floor. However, the officer that assumed the post at 18:00 hours remained
  on post.

 At one point, when the officer went off post, she left the entrance door to the housing area unsecured




Exhibit 16 at 274
  providing individuals opportunity to congregate in vestibule.

Supervisor were present seven (7) times within the 24-hour period. The officer on the midnight tour
conducted more consistent tours and remained on post.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                               3
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Exhibit 16 at 275
                        3 UPPER
                              R NORTH² 7/18/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 276
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 277 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 3 Upper North between 6:00 AM on 7/18/22 to 6:00 AM on 07/19/22. Tour
wands were used consistently, but there were issued observed throughout the audit period.


 No staff on post consistently ʹthere were still significant periods of time where no staff member was on
  the floor. Particularly overnight, staff would remain off post and only come onto the floor to do tours
  with the tour wands and then go back off post.

 A Station was observed unsecured at several points.

 While the officers secured the cell doors more consistently throughout the day, there were times were
  doors were observed unsecured. When affording options, the doors remained unsecured for a short




Exhibit 16 at 277
  period of time, however the officers closed the cell doors.


Supervisors present five (5) times within a 24-hour period.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                              3
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Exhibit 16 at 278
                            8/08/22-08/09/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 279
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 280 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 1 Central North between 6:00 AM on 8/08/22 to 6:00 AM on 08/09/22. Tour
wands were used consistently, but there were issued observed throughout the audit period.

 No staff on post consistently ʹthere were still significant periods of time where no staff member was on
  the floor. Particularly overnight. 1800-hour tour.

 Cell doors observed unsecured throughout the entire 24-hour period.

 Cross gate remained unsecured throughout the entire 24-hour period.

 Supervisors present eight (8) times within a 24-hour period.

The snapshots in this document are meant to show examples of many of the security




Exhibit 16 at 280
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                              3
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Exhibit 16 at 281
                            8/15/22-08/16/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 282
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 283 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 1 Central South between 6:00 AM on 8/15/22 to 6:00 AM on 08/16/22. Tour
wands were used consistently, but there were issued observed throughout the audit period.

 No staff on post consistently ʹthere were still significant periods of time where no staff member was on
  the floor. Particularly during the 0600x1831 hour tour.

 There were times where doors were observed unsecured.

 Cross gate remained opened during the 24 hour period.

 Supervisors present six (6) times within a 24-hour period.




Exhibit 16 at 283
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 284 of 372




                                  OVERALL FINDINGS                                                                                                                              3
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Exhibit 16 at 284
                            9/01/22-09/02/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 285
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 286 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 2 Central North between 6:00 AM on 9/01/22 to 6:00 AM on 09/02/22. Tour
wands were used consistently, but there were issued observed throughout the audit period.

 Officer Lazzare observed off post on three occasions. However, Officer Lazarre was consistently making
  tours of the housing area throughout the tour.
 Cell doors observed unsecured throughout the entire 24-hour period. Individuals observed exiting and
  entering cells freely.
 Multiple individuals observed in a cell.
 Individuals observed in dayroom after lock in.
 Supervisors present seven (7) times within a 24-hour period. This includes a Deputy Warden touring the
  housing area.

Positive take aways:




Exhibit 16 at 286
The officer assigned on the 0600x18:31-hour tour, toured consistently. He was constantly looking inside of
the cells. The officers are observed utilizing the watch tour wand throughout the 24-hour period.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                              3
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Exhibit 16 at 287
                            09/06/22-09/07/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 288
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 289 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 2 Central South between 6:00 AM on 9/06/22 to 6:00 AM on 09/07/22. Tour
wands were used consistently, but there were issues observed throughout the audit period.


 Cell doors remained unsecured within the 24-hour period.

 Individuals in the housing area observed entering and exiting their cells throughout the entire audit.

 Multiple individuals observed in the pantry after the institutional feeding.

 Supervisors present six (6) times within a 24-hour period.




Exhibit 16 at 289
Positive takeaway
 Officer conducted tour consistently throughout the 24-hour period with the watch tour wand.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                            3
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Exhibit 16 at 290
                        1 LOWER
                              R SOUTH² 9/19/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 291
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                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 1 Lower South between 6:00 AM on 9/19/22 to 6:00 AM on 09/20/22. Save
for approximately four (4) instances where an officer was observed off post, the security practices that
were outlined in recent teletypes appeared to be adhered to consistently:

 Cell doors were secured after every option.

 Cell doors remained secured throughout the tour.

 There was a significant supervisory presence throughout the day, including the Warden and Deputy
  Warden of Security. Supervisor present Thirteen (13) times within a 24 hour period.

 The officers conducted tours consistently. They utilized the watch tour wand.




Exhibit 16 at 292
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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Exhibit 16 at 293
                        1 LOWER
                              R NORTH² 9/20/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 294
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 295 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 1 Lower North between 6:00 AM on 9/20/22 to 6:00 AM on 09/21/22. Save
for the two (2) times the officer was observed off post, the security practices that were outlined in recent
teletypes appeared to be adhered to consistently:

 Cell doors were secured after every option.

 Cell doors remained secured throughout the tour.

 There was a significant supervisory presence throughout the day, including the Warden and Deputy
  Warden of Security .Supervisors present Thirteen (13) times within a 24 hour period.

 The officers conducted tours consistently. They utilized the watch tour wand.




Exhibit 16 at 295
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                   OVERALL FINDINGS                                                                                                                               3
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Exhibit 16 at 296
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                              R NORTH² 10/24/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 297
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 298 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 1 Upper North between 6:00 AM on 10/24/22 to 6:00 AM on 10/25/22. Staff
leaving their post was the biggest issue observed during this audit. Otherwise, the security practices that
were outlined in recent teletypes appeared to be adhered to consistently:

 Cell doors were secured after every option.

 Cell doors remained secured throughout the tour.

 The officers conducted tours consistently. They utilized the watch tour wand.

 Supervisors were present and conducted tours nine (9) times within the 24-hour period.




Exhibit 16 at 298
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                  OVERALL FINDINGS                                                                                                                               3
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Exhibit 16 at 299
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                              R SOUTH² 11/07/22
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 300
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 301 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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NCU reviewed operations in 1 Upper South between 6:00 AM on 11/07/22 to 6:00 AM on 11/08/22.
There were several issues observed throughout the 24-hour period.

 Cell doors observed unsecured throughout the day.

 Crossgate observed unsecured throughout the day.

 1500-hour lock-in not enforced.

 Supervisors present seven (7) times within a 24-hour period.

Positive Takeaways:




Exhibit 16 at 301
 The officers conducted tours consistently. They utilized the watch tour wand.

The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                 OVERALL FINDINGS                                                                                                                 3
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Exhibit 16 at 302
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 303
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 304 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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                    NCU reviewed operations in Mod 1 North between 6:00 AM on 11/17/22 to 6:00 AM on 11/18/22. The
                    following were NCUs findings throughout the audit period.


                     The officers did not remain on the floor consistently during the 0600x1831 hour tour. However, the
                      officer for the 1830x0631 hour tour remained on the floor consistently.

                     2100-hour lock in not enforced. Individuals in the housing area were observed exercising, they were
                      not on their beds.

                     Supervisors present six (6) times within a 24-hour period.




Exhibit 16 at 304
                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
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Exhibit 16 at 305
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 306
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 307 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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                    NCU reviewed operations in Mod 1 South between 6:00 AM on 11/21/22 to 6:00 AM on 11/22/22. The
                    following were NCUs findings throughout the audit period.


                     The officers did not remain on the floor consistently during the 0600x1831 hour tour. However, the
                      officer for the 1830x0631 hour tour remained on the floor consistently.

                     Supervisors present nine (9) times within a 24-hour period.




Exhibit 16 at 307
                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
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Exhibit 16 at 308
                       6 CENTRAL
                               L NORTH² 01/25/23
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 309
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 310 of 372




                             COMPLIANCE STRATEGY                                                                                                                                2
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                    NCU reviewed operations in 6 Central North between 6:00 AM on 01/25/23 to 6:00 AM on 01/26/23.
                    The following issues were observed throughout audit period.

                     The officers did not remain on the floor consistently during the 5x1 and 1x9 tours.
                      However, the officer assigned to the 9x5 tour remained on post.

                     Supervisors present only four (4) times within a 24-hour period.

                     Although the cells doors are operable, several cell doors were observed unsecured.

                    Positive takeaway




Exhibit 16 at 310
                     The officers utilized the watch tour wand consistently throughout the 24-hour period.


                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
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Exhibit 16 at 311
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 312
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 313 of 372




                             COMPLIANCE STRATEGY                                                                                                                                2
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                    NCU reviewed operations in 2 Upper South between 6:00 AM on 02/21/23 to 6:00 AM on 02/22/23. The
                    following issues were observed throughout audit period.

                     The officers did not remain consistently on the floor during all three tours (5x1, 1x9 nor 9x5).

                     Supervisors present only four (5) times within a 24-hour period.
                      The 9x5 tour was the only tour to fulfilled requirement according to Teletype Order # HQ -00944-0,
                      dated May 2, 2022.

                     PICs was observed with contraband on occasions when officers were on and off their post.




Exhibit 16 at 313
                     Unsecured cell doors were observed.

                    Positive takeaway

                     The officer assigned on all three tours, toured consistently. They were constantly looking inside of the
                      cells. The officers are observed utilizing the watch tour wand throughout the 24-hour period.

                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                                                                                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 314 of 372




                    exhaustive.

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Exhibit 16 at 314
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                               L SOUTH² 03/02/23
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 315
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                             COMPLIANCE STRATEGY                                                                                                                                2
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                    NCU reviewed operations in 6 Central South between 6:00 AM on 03/02/23 to 6:00 AM on 03/03/23.
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                     Several cell doors and food slots were observed unsecured throughout the day.

                     While the officers utilized the watch tour wand consistently throughout the 24-hour period, they did
                      not always check inside the cells during their wand tours.

                     Multiple PICs were observed entering one cell on two separate occasions. During one of these
                      instances the PICs remained in one cell for approximately 20 minutes before the floor officer noticed.




Exhibit 16 at 316
                     Supervisors were present 15 times within a 24-hour period, including two(2)Tour Commanders.


                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
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Exhibit 16 at 317
                       6 CENTRAL
                               L NORTH² 04/03/23
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 318
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 319 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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                    NCU reviewed operations in 6 Central North between 6:00 AM on 04/03/23 to 6:00 AM on 04/04/23.
                    The following issues were observed throughout audit period.

                     Supervisors present only six (6) times within a 24-hour period.

                     Although the cells doors appeared to be operable, several cell doors remained unsecured throughout
                      the audit.

                     Multiple PICs were observed entering one cell.

                    Positive takeaway




Exhibit 16 at 319
                    The officers utilized the watch tour wand consistently throughout the 24-hour period.


                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
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Exhibit 16 at 320
                       5 CENTRAL
                               L NORTH² 04/18/23
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 321
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                              COMPLIANCE STRATEGY                                                                                                                               2
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           NCU reviewed operations in 5 Central North between 6:00 AM on 04/18/23 to 6:00 AM on 04/19/23. The
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            The officers did not remain on the floor consistently.

            Several cell doors were observed unsecured.

            Multiple individuals were observed entering one cell which had a window obstruction. Although an
             officer was conducting a watch tour, he did not address neither the multiple individuals in the cell nor
             the cell window obstruction.

            While the watch tour pipe was utilized throughout the 24 hours, it was not consistent (not done every
             30 min). Most of the time the officers were not looking inside of the cells while conducting the watch
             pipe tours.




Exhibit 16 at 322
            Supervisors were present twelve (12) times within a 24-hour period.

           The snapshots in this document are meant to show examples of many of the security
           breakdowns and most of the Captain/supervisor appearances in the unit. They are not
           exhaustive.
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Exhibit 16 at 323
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                               L SOUTH² 04/24/23
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 324
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 325 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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                    NCU reviewed operations in 5 Central South between 5:52 AM on 04/24/23 to 6:00 AM on 04/25/23.
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                     The officers did not remain on the floor consistently.

                     Pantry door and several cell doors were observed unsecured.

                     The officers conducted the watch tours throughout the 24 hours, however the tours were not
                      consistent (not conducted every 30 min ). The officers were not always looking inside of the cells while
                      conducting the watch pipe tours.




Exhibit 16 at 325
                     Supervisors present twelve (12) times within a 24-hour period.


                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
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Exhibit 16 at 326
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                              R SOUTH² 05/08/23
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Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 327
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 328 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
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                    NCU reviewed operations in 1 Lower South between 6:00 AM on 05/08/23 to 6:00 AM on 05/09/23. The
                    following issues were observed throughout audit period.

                     The cross gate was observed unsecured throughout the audit.

                     Several cell doors were observed unsecured.

                     Although the officers toured utilizing the watch tour pipe consistently, most of the time the officers
                      were not looking inside of the cells while touring. (Out of approximately 54 Watch Tours conducted by
                      staff only 13 (about 25%) included staff looking inside of the cells.)




Exhibit 16 at 328
                     Supervisors were present nine (9) times within a 24-hour period and were observed utilizing the watch
                      tour pipe. However, only 5 of 9 (55%) supervisor tours included the supervisors looking inside of the
                      cells while touring.


                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
                                                                                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 329 of 372




                                                    OVERALL FINDINGS                                                                                                                              3
                               Privileged & Confidential




SUPERVISOR
         R TOURSS AND
                    D SECURITY
                             Y
        ISSUES
             S - RNDC




Exhibit 16 at 329
                    5 LOWER
                          R NORTH
                                H ² MAY
                                      Y 15,, 2023
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 330 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 330
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 331 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in 5 Lower North Privileged    Confidential
                                             between &06:00 hours on May 15, 2023, until 0600 hours on May
16, 2023. The following are Eh͛Ɛ findings throughout the 24-hour period.

 Several cell doors were often observed unsecured.

 The introduction of contraband was observed. Individuals were observed inhaling and passing around an
  unknown substance.

 Multiple individuals were observed entering and exiting each others' cells. On the 5X1 tours, it appears as if
  the officer would sometimes attempt to address the situation but could not gain compliance.

 After the institutional lock-in at 2300 hours, the officer constantly left the floor and only returned to do a
  tour of the area.




Exhibit 16 at 331
 Supervisors were in the area a total of six (6) times throughout the 24-hour period.

The snapshots in this document are meant to show examples of many of the security breakdowns
and most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                                   Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 332 of 372




                                   OVERALL FINDINGS                                                                                                                                   3
                               Privileged & Confidential




SUPERVISOR
         R TOURSS AND
                    D SECURITY
                             Y
        ISSUES
             S - RNDC




Exhibit 16 at 332
                    5 LOWER
                          R SOUTH
                                H ² JUNE
                                       E 23,, 2023
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 333 of 372




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                                            Privileged & Confidential


Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 333
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 334 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in 5 Lower South Privileged    Confidential
                                             between &06:00 hours on June 23, 2023, until 0600 hours on June
24, 2023. The following are Eh͛Ɛ findings throughout the 24-hour period.

 Pantry door observed unsecured. Multiple PIC were observed in the pantry throughout the day.

 The introduction of contraband was observed. An individual was observed inhaling an unknown substance.

 Multiple individuals were observed entering and exiting each others' cells.

 While the watch tour pipe was consistently utilized throughout the 24 hours, most of the time the officers
  were not looking inside of the cells while conducting the watch pipe tours

 Supervisors toured the area a total of six (6) times throughout the 24-hour period; 5 of 6 times a watch
  tour pipe was utilized.




Exhibit 16 at 334
The snapshots in this document are meant to show examples of many of the security breakdowns
and most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 335 of 372




                                  OVERALL FINDINGS                                                                                                                                3
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                                         D SECURITY
                                                  Y


                                                                              Y 10,, 2023



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                                                                        H ²JULY
                                  S - RNDC
                              R TOURSS AND


                                                                  L NORTH
                             ISSUES
                     SUPERVISOR


                                                          4 CENTRAL




                                      Exhibit 16 at 335
Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 336
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 337 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in 4 Central North between 06:00 hours on July 10, 2023, until 0600 hours on July
11, 2023. The following are Eh͛Ɛ findings throughout the 24-hour period.

 While the watch tour pipe was consistently utilized throughout the 24 hours, most of the time the officers
  were not looking inside of the cells while conducting the watch pipe tours.

 Several food slots observed unsecured.

 Several cell doors observed with obstructions.

 PIC observed congregating on the tier, on a couple of occasions the officer appears to address it.

 Staff were observed off post.




Exhibit 16 at 337
 Supervisors toured the area a total of eight (8) times throughout the 24-hour period and watch tour wands
  were utilized during all tours. However, there is a 7-hour gap between supervisor tours in the afternoon
  (the supervisors did not tour between 14:45 and 22:00 hrs).


The snapshots in this document are meant to show examples of many of the security breakdowns
and most of the Captain/supervisor appearances in the unit. They are not exhaustive.
                                                                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 338 of 372




                                  OVERALL FINDINGS                                                                                                                                3
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                                         D SECURITY
                                                  Y


                                                                              Y 14,, 2023



                                                                                            1
                                                                        H ²JULY
                                  S - RNDC
                              R TOURSS AND


                                                                  L SOUTH
                             ISSUES
                     SUPERVISOR


                                                          4 CENTRAL




                                      Exhibit 16 at 338
Beginning December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 339
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 340 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
NCU reviewed operations in 4 Central South between 06:00 hours on July 14, 2023, until 0600 hours on July
15, 2023. The following are Eh͛Ɛ findings throughout the 24-hour period.

 While the watch tour pipe was consistently utilized throughout the 24 hours, most of the time the officers
  were not looking inside of the cells while conducting the watch pipe tours.

 Several food slots observed unsecured. Some cell doors appeared to be unsecured.

 There were times when the officer was observed off post.

 Supervisors toured the area a total of eight (8) times throughout the 24-hour period and were observed
  utilizing the watch tour wand. However, there was a 6 ½ hour gap between supervisor tours in the morning
  (supervisors did not tour between 6:30 and 13:00 hrs).




Exhibit 16 at 340
The snapshots in this document are meant to show examples of many of the security breakdowns
and most of the Captain/supervisor appearances in the unit. They are not exhaustive.
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                                  OVERALL FINDINGS                                                                                                                                3
                                Confidential Materials - Attorney's Eyes Only




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - RNDC




Exhibit 16 at 341
                        3 LOWER
                              R NORTH² 08/07/23
                                                                                    Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 342 of 372




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                                              Confidential Materials - Attorney's Eyes Only




Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 342
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 343 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                             Confidential Materials - Attorney's Eyes Only




                    NCU reviewed operations in 3 Lower North between 6:00 AM on 08/07/23 to 6:00 AM on 08/08/23. The
                    following issues were observed throughout audit period.

                     While the tours of the housing area were conducted by the officers, they were not conducted
                      consistently and the watch tour wands were not being utilized during those tours.

                     The officers were observed off post on multiple occasions throughout the audit.

                     The supervisor toured seven (7) times within a 24-hour period. (Five watch tours were conducted by
                      Captains, and ADWs toured two times.) However, the first supervisor tour did not occur until 12:33pm
                      that day.




Exhibit 16 at 343
                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
                                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 344 of 372




                                                   OVERALL FINDINGS                                                                                                                             3
                                Confidential Materials - Attorney's Eyes Only




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - RNDC




Exhibit 16 at 344
                        3 LOWER
                              R SOUTH² 08/15/23
                                                                                    Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 345 of 372




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                                              Confidential Materials - Attorney's Eyes Only




Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 345
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 346 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                              Confidential Materials - Attorney's Eyes Only




                    NCU reviewed operations in 3 Lower South between 6:00 AM on 08/15/23 to 6:00 AM on 08/16/23. The
                    following issues were observed throughout audit period.

                     The officers conducted only 15 tours during the 24 hour period (5 of those tours were when they
                      toured together with the supervisors.) The watch tour wands were not utilized during those tours.

                     The officers were observed off post on multiple occasions throughout the audit.

                     The pantry door remained unsecured throughout the day.

                     Multiple PIC observed coming out of one cell. (The officer addressed the situations and the PICs




Exhibit 16 at 346
                      complied by exiting the cell.)

                     The supervisors toured nine (9) times within a 24-hour period. However, there was a 4 hour and 40
                      min gap (between 8:33 and 13:13 hours) and a 5 hour and 35 minute gap (between 16:01 and 21:36
                      hrs) between supervisor tours. The supervisors did not utilize watch tour wands during their tours.

                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
                                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 347 of 372




                                                    OVERALL FINDINGS                                                                                                                           3
                               Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - VCBC
                             DORM
                                M 1D-AB
                                      B




Exhibit 16 at 347
Decemberr 28,, 2021
                  1 ² Decemberr 29,, 2021
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 348 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 348
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 349 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                    NCU reviewed operations in Dorm 1D-ABPrivileged
                                                             between&06:00    AM on December 28, 2021, to 06:00 AM on
                                                                         Confidential
                    December 29, 2021. Some of the ongoing issues that have been referenced by the Nunez Monitor were
                    apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
                    consistently:

                       Staff on post leaving Departmental equipment unsecure.
                       Staff on post with possibly with an electronic device.
                       Incarcerated individuals not secured during institutional lock-in scheduled for 21:00 hours.
                       Incarcerated individuals in possession of cleaning supply.
                       No protocol followed regarding the pantry.
                       Supervisors present only three (3) times over a 24-hour period.

                       Some positives takeaways were:
                       For those on post in in 1D - AB consistently conducted tours.




Exhibit 16 at 349
                       Conducted an institutional count.
                       Communicated with the relieving staff member.
                       Exchange equipment on the floor.
                       When present, Supervisors did address issues and conducted tours in housing area.


                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
                                                                                                                              Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 350 of 372




                                                    OVERALL FINDINGS                                                                                                                             3
                               Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - VCBC




Exhibit 16 at 350
             DORMM 1D-BA
December 28,, 2021
                 1 ² Decemberr 29,, 2021
                                                               Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 351 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 351
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 352 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                             Privileged & Confidential

NCU reviewed operations in Dorm 1D-AB between 06:00 AM on December 28, 2021, to 06:00 AM on
December 29, 2021. Some of the ongoing issues that have been referenced by the Nunez Monitor were
apparent. The security practices that were outlined in recent teletypes did not appear to be adhered to
consistently:

 Pantry protocol not adhere to.
 Staff were off post for extensive time.
 Door security ŝƐƐƵĞƐ;ƚŚŝƐǁĂƐĂĚŽƌŵůŽĐĂƚŝŽŶ͕ďƵƚŝƐƐƵĞƐǁŝƚŚƉĂŶƚƌǇĚŽŽƌ͕ũĂŶŝƚŽƌ͛ƐĐůŽƐĞƚ͕ĂŶĚ
  interview room)
 Individuals were observed smoking unknown substance.
 Count procedures not consistent.
 Security inspections not consistent.
 Supervisors only appeared to be present twice in a 24-hour period.




Exhibit 16 at 352
The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 353 of 372




                                   OVERALL FINDINGS                                                                                                                          3
                                   Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - VCBC




Exhibit 16 at 353
                                VCBC C ² 3D-AB
                    February
                           y 25,, 2022
                                     2 ² February
                                                y 26,, 2022
                                                                   Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 354 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 354
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 355 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                                            Privileged & Confidential
NCU reviewed operations in VCBC 3D-AB housing area between 06:00 AM on February 25, 2022, to 06:30
AM on February 26, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor
were apparent. The security practices that were outlined in recent teletypes did not appear to be adhered
to consistently:

                   Pantry door remained unsecured throughout the day.
                   The 21:00 tour lock-in not adhered to ʹ individuals were observed watching TV and taking showers.
                   Full security inspections were not conducted.
                   Physical counts did not appear to be conducted.
                   Impermissible clothing was observed.
                   Some Genetec cameras were obstructed throughout the 24-hour period and not being monitored.

 Some positive takeaways:
 Staff performed tours of the area.




Exhibit 16 at 355
 Staff remained on post consistently

Supervisors were present four (4) times throughout the 24-hour period.



The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
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                                                  OVERALL FINDINGS                                                                                                                         3
                                   Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - VCBC




Exhibit 16 at 356
                                VCBC C ² 3D-BB
                    February
                           y 25,, 2022
                                     2 ² February
                                                y 26,, 2022
                                                                   Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 357 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 357
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 358 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                              Privileged & Confidential

NCU reviewed operations in VCBC 3D-BB housing area between 06:00 AM on February 25, 2022, to 06:30
AM on February 26, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor
were apparent. The security practices that were outlined in recent teletypes did not appear to be adhered
to consistently:

 Staff not consistently conducting institutional counts.

 Pantry door remained unsecured throughout the 24-hour

 Institutional lock-in protocols not adhere to.

 Staff off post for significant periods of time.




Exhibit 16 at 358
 Inmate is able to open the A Station door and interact with A Station Officer.


Supervisors were present four (4) times throughout the 24-hour period.


The snapshots in this document are meant to show examples of many of the security
breakdowns and most of the Captain/supervisor appearances in the unit. They are not
exhaustive.
                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 359 of 372




                                    OVERALL FINDINGS                                                                                                                           3
                                 Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - VCBC




Exhibit 16 at 359
                              VCBC C ² 2D-AA
                     March
                         h 14,, 2022
                                   2 ² March
                                           h 15,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 360 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 360
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 361 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                    NCU reviewed operations in VCBC 2D-AA housing    area between 06:00 AM on March 14, 2022, to 06:30 AM
                                                            Privileged & Confidential
                    on March 15, 2022. Some of the ongoing issues that have been referenced by the Nunez Monitor were
                    apparent. Some issues observed were:

                     Staff on the floor did not consistently conduct tours upon assuming post.

                     Staff not consistently conduct institutional counts.

                     There was approximately a 90-minute period with no officer on the floor.

                     Pantry door was unsecured throughout 24-hour period.

                     Institutional lock-in protocols not adhered to.

                     Possession of contraband/smoking in dorm after lock-in.




Exhibit 16 at 361
                     Unauthorized uniforms observed.

                    Supervisors were present four (4) times throughout the 24-hour period.


                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
                                                                                                                            Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 362 of 372




                                                     OVERALL FINDINGS                                                                                                                          3
                                 Privileged & Confidential




                    SUPERVISOR
                             R TOURSS AND
                                        D SECURITY
                                                 Y
                            ISSUES
                                 S - VCBC




Exhibit 16 at 362
                              VCBC C ² 2D-AB
                     March
                         h 14,, 2022
                                   2 ² March
                                           h 15,, 2022
                                                                 Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 363 of 372




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                                            Privileged & Confidential


Beginning December 28, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec audits
of housing areas to review if supervisors are conducting tours as required in Teletype Order # HQ -
02948-1, dated December 9, 2021.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to additional violence. This includes, but is not limited to door security,
congregation in vestibules, and staff failing to remain on post.




Exhibit 16 at 363
                                                                                                          Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 364 of 372




                             COMPLIANCE STRATEGY                                                                                                                             2
                                                             Privileged & Confidential
                    NCU reviewed operations in VCBC 2D-AB housing area between 06:00 AM on March 14, 2022, to 06:30 AM
                    on March 15, 2022. Some issues observed were:

                     Staff on the floor not consistently conducting a tour upon assuming post.

                     Staff not consistently conducting institutional counts.

                     Pantry protocol issues.

                     Possession of contraband/smoking

                     Unauthorized uniform for inmate.




Exhibit 16 at 364
                    Supervisors were present four (4) times throughout the 24-hour period.


                    The snapshots in this document are meant to show examples of many of the security
                    breakdowns and most of the Captain/supervisor appearances in the unit. They are not
                    exhaustive.
                                                                                                                         Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 365 of 372




                                                   OVERALL FINDINGS                                                                                                                         3
                                Privileged & Confidential




SUPERVISOR
         R TOURSS AND
                    D SECURITY
                             Y
        ISSUES
             S - VCBC




Exhibit 16 at 365
                              VCBC² 3D-AA
                                  2 ² Aprill 6,, 2022
                    Aprill 5,, 2022
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                                                            1
                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 366
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 367 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                                                                      Privileged & Confidential


                    NCU reviewed operations in VCBC 3D-AA housing area between 06:00 AM on April 5, 2022, to 06:30 AM on April 6, 2022.
                    Some of the ongoing issues that have been referenced by the Nunez Monitor were apparent. Some issues observed
                    were:
                     Pantry Door was left unsecured throughout the day

                       Staff failed to remain on post consistently with proper relief

                       Despite supervisor tours, ƉĂŶƚƌǇĂŶĚŝƐƐƵĞƐǁŝƚŚũĂŶŝƚŽƌ͛ƐĐůŽƐĞƚĚŝĚŶŽƚĂƉƉĞĂƌƚŽďĞĂĚĚƌĞƐƐĞĚ

                       Improper/superficial pat frisks observed

                       Pantry protocol did not appear to be adhered to

                       Staff member may have had a smart watch on




Exhibit 16 at 367
                    Supervisors were present five (5) times throughout the 24-hour period.

                    The snapshots in this document are meant to show examples of many of the security breakdowns and
                    most of the Captain/supervisor appearances in the unit. They are not exhaustive.
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                                                          OVERALL FINDINGS                                                                                                                                   3
                                Privileged & Confidential




SUPERVISOR
         R TOURSS AND
                    D SECURITY
                             Y
        ISSUES
             S - VCBC




Exhibit 16 at 368
                              VCBC² 3D-AB
                                  2 ² Aprill 6,, 2022
                    Aprill 5,, 2022
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                                                            1
                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 369
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 370 of 372




                              COMPLIANCE STRATEGY                                                                                                                               2
                    NCU reviewed operations in 3D-AB housing areaPrivileged   Confidential
                                                                   between&06:00   AM on April 5, 2022, to 06:30 AM on April 6, 2022.
                    Some of the ongoing issues that have been referenced by the Nunez Monitor were apparent. Some issues observed
                    were:

                       Improper/Superficial pat frisking observed

                       Staff on/off post without proper relief

                       Pantry protocols not adhered to, including institutional feeding.

                       WĂŶƚƌǇĚŽŽƌĂŶĚũĂŶŝƚŽƌ͛ƐĚŽŽƌŽďƐĞƌǀĞĚunsecured.

                       Staff inconsistent with conducting thorough security inspections and physical counts.

                    Supervisors were present six (6) times throughout the 24-hour period.




Exhibit 16 at 370
                    The snapshots in this document are meant to show examples of many of the security breakdowns and
                    most of the Captain/supervisor appearances in the unit. They are not exhaustive.
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                                                        OVERALL FINDINGS                                                                                                                                   3
                                             Privileged & Confidential


Beginning on December 20, 2021, the Nunez Compliance Unit (NCU) started to conduct Genetec
audits of housing areas. NCU reviews 24 hours of Genetec video in a housing area.

While conducting these assessments, NCU will also note any apparent operational or security failures
that could potentially lead to violence. This includes, but is not limited to: door security, congregation
in vestibules, and staff failing to remain on post.

Furthermore, NCU will look to see if supervisors are conducting tours as required in Teletype Order #
HQ -00944-0, dated May 2, 2022.




Exhibit 16 at 371
                                                                                                             Case 1:11-cv-05845-LTS Document 602-16 Filed 11/17/23 Page 372 of 372




                              COMPLIANCE STRATEGY                                                                                                                               4
